Case 06-10725-gwz_ Doc 3603-3 Entered 04/26/07 16:96:53 Page 1 of 74

O

ORRICK

Official Committee of Equity Security Holders of December 29, 2006
USA Capital Diversified Trust Deed Fund, LLC Client No. 17908
1112 Worthen Circle Invoice No. 1047512

Las Vegas, NV 89145

Attn: Robert G. Worthen
Chair Orrick Contact: Mare A. Levinson

FOR SERVICES RENDERED through November 30, 2006 in

connection with the matters described on the attached pages: $ 206,370.00
DISBURSEMENTS as per attached pages: 352.87
TOTAL CURRENT FEES & DISBURSEMENTS (Pay this Amount): $ 206,722.87

Matter(s): 17908/2 —- USA Capital Diversified Trust Fund Commi

DUE UPON RECEIPT

The following is for information only:

Previous Balance not included in this invoice: $1,080,133.59
If this amount has already been paid, please disregard.

In order to ensure proper credit to your account,
please reference your INVOICE and CLIENT numbers on your remittance.
For inquiries, call: (304) 231-2701. Fax (304) 231-2501.

REMITTANCE COPY - PLEASE RETURN WITH PAYMENT

REMITTANCE ADDRESS: | ELECTRONIC FUNDS ELECTRONIC FUNDS
Orrick, Herrington & Sutcliffe LLP TRANSFERS: TRANSFERS:
me OSS EO. ro ” 97 Wire Transfers Only: ACH Transfers Only:
Reference: 17908/ Invoice: 1047512 ABA Number 0260-0959-3 ABA Number 121-000358
E.LN. XX-XXXXXXX Bank of America Bank of America
OVERNIGHT DELIVERY: 100 West 33rd rect N. ay NY 1000] San Fi ranciseo Main come
. : . ccount o; ccount o,
ve Bank of Aecrica See Orrick, Herrington & Sutcliffe LLP Orrick, Herrington & Sutcliffe LLP
1455 Market Street, 21st Floor Account Number: 1499-4-10382 Account Number: 1499-4-10382
San Francisco, CA 94103 Reference: 17908/ Invoice: 1047512 Reference: 17908/ Invoice: 1047512
: E.LN. XX-XXXXXXX ELEN, XX-XXXXXXX

(415) 436-4300
Case 06-10725-gwz_ Doc 3603-3 Entered 04/26/07 16:56:53 Page 2 of 74

O

ORRICK

Official Committee of Equity Security Holders of December 29, 2006
USA Capital Diversified Trust Deed Fund, LLC Client No. 17908
1112 Worthen Circle Invoice No. 1047512

Las Vegas, NV 89145
Attn: Robert G. Worthen
Chair Orrick Contact: Marc A. Levinson

For Legal Services Rendered Through November 30, 2006 in Connection With:

Matter: 2 - USA Capital Diversified Trust Fund Committee

Task B110 — Case Administration

11/01/06 =L. Ernce Review order denying conversion motion 0.10 46.50
and email to Diversified professionals re
same.

11/01/06 ~L. Ernce Attention to various case administration 1.20 558.00

matters including updating Diversified
Committee website.

11/02/06 L. Ermce Review multiple electronic notices. 0.20 93.00

11/09/06 ~L. Ernce Attention to revising and updating 0.70 325.50
committee website.

11/09/06 -L. Ernce Attention to various case administration 0.50 232.50
matters and review multiple electronic
notices.

11/10/06 L. Ernce © Review and circulate article re J. 0.20 93.00

Milanowski's motion to seal and email
with M. Levinson re same and other press
issues.

11/16/06 L. Ernce Attention to case administration matters 1.10 511.50
including review of electronic notices,
calendaring matters and updating of
Diversified Committee's website.

11/17/06 M. Levinson Review numerous email memoranda that 0.70 392.00
arrived during the past week in an effort to
stay on top of all recent developments and
to anticipate those of next week.

11/26/06 J. Hermann Travel to Las Vegas for committee 2.50 1,425.00
meetings and Bankruptcy Court hearings
(actual time of approximately 4 hours).

11/29/06 J. Hermann Travel from Las Vegas after three days of 2.50 1,425.00
meetings and court hearings (actual time
in excess of 4.50 hours).

11/30/06 L. Emce Revise and update Diversified Committee 0.20 93.00
website to include new plan and disclosure
statement documents.
Case 06-10725-gwz_ Doc 3603-3 Entered 04/26/07 16:56:53 Page 3 of 74

O

ORRICK

Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 2

11/30/06 L. Ernce Review multiple electronic notices 0.20 93.00
received today.

11/30/06 =L. Ernce Review notice of amended appointment of 0.10 46.50
USACM committee and email to
Diversified professionals re same.

11/30/06 R. Ragni Review Diversified Fund account to 0.10 39.00
obtain direct emails from website
inquiries.

11/30/06 R. Ragni Review of newly filed pleadings in case 0.70 273.00
after electronic notice of documents and
save to file potential documents of interest
for further review: Omnibus Objection to
Claims of Equity Misfiled as Creditor
Claims (.10); Omnibus Objection to
Claims filed against the wrong debtor
entity (.10); Notice of Hearing for
Omnibus Objections, six total (.20);
Motion to Temporarily Allow Claim of
Bindford Medical for Purposes of Plan
Voting (.10); Motion to Compel
Compliance with Bid Procedures Order
(.10); BCN Certificate of Mailing; Motion
to Allow Claim of Copper Commercial
Center (.10).

B110 — Case Administration Total 11.00 5,646.50

Timekeeper Summary Hours Rate Amount

Lynn T. Ernce 4.50 465.00 2,092.50
Jeffery D. Hermann 5.00 570.00 2,850.00
Marc A. Levinson 0.70 560.00 392.00
Rachel P. Ragni 0.80 390.00 312.00

Total All Timekeepers 11.00 $513.32 $5,646.50

Case 06-10725-gwz_ Doc 3603-3 Entered 04/26/07 16:56:53 Page. 4 of 74

O

ORRICK

Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 3

Task B120 — Asset Analysis and Recovery

11/01/06. M. Levinson Email memorandum from a lawyer for a 0.10 56.00
potential purchaser of Diversified Fund
assets and email memorandum to
Diversified Committee professionals re the
same.

11/02/06 M. Levinson Conference with M. Bloom re his client's 6.10 3,416.00
possible interest in acquiring the assets of
the Diversified Fund (.20); meeting with R.
Charles and J. Hermann at Orrick San
Francisco, with T. Burr, M. Tucker and C.
Harvick on the line, to discuss plan term
sheet and settlement issues, and réview
various documents, spreadsheets and
memoranda during the meetings (2.20);
follow-up meeting with J. Hermann re next
steps (.50); breakout session meeting/phone
call with J. Hermann, C. Harvick and M.
Tucker (.30); follow-up meeting with R.
Charles (.40); follow-up meeting/phone call

-with J. Hermann, C. Harvick and M. Tucker
(.30); another, longer follow-up
meeting/phone call with J. Hermann, C.
Harvick and M. Tucker during which we
formulate a counterproposal (1.30);
telephone conversation with E. Karasik re
today's discussions with R. Charles and T.
Burr, her conversations with R. Charles and
with G. Garman and re related plan issues
(.30); review new spreadsheets prepared by
M. Tucker and C. Harvick, continue
working on a counterproposal, revise and
finalize the same and email it to R. Charles,
S. Freeman and T. Burr (.60).
Case 06-10725-gwz_ Doc 3603-3 Entered 04/26/07 16:56:53 Page 5 of 74

O

ORRICK

Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 4

11/02/06 J. Hermann Further review and analysis of source 6.90 3,933.00

materials in preparation for further
negotiations with USACM committee on
consensual plan of reorganization (.30); all
day meeting with R. Charles and M.
Levinson to negotiate plan of reorganization,
with C. Harvick, M. Tucker and T. Burr
participating by conference call, including
discussion of various financial analyses
prepared by financial consultants and term
sheet dealing with outstanding unresolved
plan of reorganization issues (2.20); break
out meeting with M. Levinson to discuss
progress (.50); further session with C.
Harvick, M. Tucker and M. Levinson
regarding negotiating strategy and
formulation of additional settlement
proposals (1.60); further meeting with C.
Harvick and M. Tucker to discuss
differences in economic analyses of various
proposals and further formulation of
additional settlement proposals (1.70);
present such proposal to R. Charles and
email same to USACM professionals (.60).

11/03/06 M. Levinson Review R. Charles email in response to the 0.20 112.00

Diversified Fund's latest settlement
proposal, forward the same to Diversified
Fund professionals and analysis re next steps
in light of the same.

11/05/06 M. Levinson Review the email memorandum from M. 0.70 392.00
Bloom re his client's interest in making an
offer for the Diversified Fund assets (.10);
telephone conversation with M. Tucker and
C. Harvick re the same and re next steps
(.10); draft, revise and finalize email
memorandum to M. Bloom re the same
(.20); portion of conversation with M.
Tucker devoted to the same and during the
same draft an email memorandum to R. Goe
re a possible meeting with his client (.20),
review responsive email memorandum from
R. Goe and analysis re next steps in light of
the same (.10).
Case 06-10725-gwz_ Doc 3603-3 Entered 04/26/07 16:56:53 Page 6 of 74

O

ORRICK

Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC -' 17908 Invoice No. 1047512
page 5

11/06/06 M. Levinson Participate in a series of email memoranda 0.60 336.00

with R. Charles, C. Harvick re calculating
the unremitted principal claims of the
Diversified Fund and the First Trust Fund
(.10); review and respond to R. Goe email
memorandum re scheduling a conference
call (.10); portion of telephone conversation
with M. Tucker during which we discuss the
same (.10); exchange email memoranda with
M. Bloom re possible meeting with his
client to discuss its interest in purchasing
Diversified Fund assets (.10); review R.
Charles email memorandum re the
upcoming 2004 examination of the person
most knowledgeable for USA Real Estate
and email memorandum to B. Olson and A.
Loraditch re covering the same (.10);
exchange another round of email
memoranda with M. Bloom re the possible
offer and possible meeting (.10).

11/07/06 J. Hermann Consideration and analysis of issues bearing 0.70 399.00
upon Colt loans and handling of servicing
arrangements in connection with the same
(.30); preparation of proposal for servicing
rights (.30); participation in exchange of
email correspondence with DTF
professionals regarding the same (.10).

11/07/06 M. Levinson Review lengthy J. Hermann email 0.20 112.00
memorandum re the background and status
of the Colt loans.

11/08/06 J. Hermann Further consideration and analysis of issues 0.40 228.00
bearing upon servicing of Colt Gateway
loans given that other lenders LSA's will not
be transferred to Silver Point including
preparation of modified proposal for
handling of loan servicing function (.30);
participation in exchange of email
correspondence with Diversified Committee
professionals regarding the same (.10).
Case 06-10725-gwz_ Doc 3603-3 Entered 04/26/07 16:96:53 Page 7 of 74

O

ORRICK

Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 6

11/08/06 - J. Hermann Review and analysis of email 0.70 399.00

correspondence from C. Orrock regarding
attempts to prevent sale of Royal Hotel
(.10); review and analysis of email from R.
Charles regarding the same and efforts to
mobilize investors to appear for state court
hearing on the same (.10); review and
analysis of state court docket and pleadings
in connection with determination of date of
hearing and purpose for hearing (.40);
participation in exchange of email
correspondence with R. Charles, A. Jarvis
and M. Levinson regarding the same (.10).

11/08/06 M. Levinson Review lengthy C. Harvick email re the 0.40 224.00
funding of the Colt loans and re related
matters (.20); review C. Orrock email
requesting that M. Tucker testify on behalf
of Great White in the Royal Hotel lis
pendens law suit (.10); review the exchange
of C. Harvick and J. Hermann follow-up
email memoranda re the Colt loans and the

related loan servicing agreements (.10).

11/09/06 M. Levinson Review the notice of foreclosure on the 0.20 112.00
Royal Hotel and email memoranda re the
same from A. Jarvis, C. Harvick and J.
Hermann.

11/09/06 J. Hermann Review and analysis of notice of foreclosure 0.50 285.00
received from senior lienholder on Royal
Hotel (.20); consideration and analysis of
issues and timing in connection with the
same (.20); participation in exchange of
email correspondence regarding the same
(.10).

11/10/06 J. Hermann Portion of telephone conference with A. 1.20 684.00
Jarvis, C. Harvick, J. Atkinson, M. Levinson
(portion) and M. Haftl regarding
arrangements for transition of servicing of
Colt Gateway loan, discussions with HMA
regarding repayment of Colt Gateway loans,
issues pertaining to new proposal for
purchase of Diversified Fund assets and
related matters (.70); review and analysis of
new proposal for purchase of Diversified
Fund assets (.30); review of analysis of
such proposal prepared by C. Harvick (.20).
Case 06-10725-gwz_ Doc 3603-3 Entered 04/26/07 16:56:53 Page 8 of 74

O

ORRICK

Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 7

11/10/06 M. Levinson Review the proposal from Compass for the 1.40 784.00
purchase of certain small Diversified Fund
loans and review the C. Harvick email
memorandum re the same (.20) portion of
long telephone conversation with A. Jarvis,
J. Fasel, M. Haftl, C. Harvick and J.
Hermann devoted to the Colt Gateway
loans, the Marquis Hotel foreclosure notice
and possible sale, the offer from Compass
(.50); portion of follow-up telephone
conversation with C. Harvick and J.
Hermann devoted to the same (.10); review
the Racebrook proposal (.80); email to the
Diversified Fund professionals re the same
(.10); telephone conversation with R.
Charles, J. Hermann and A. Jarvis re the
same (.20); review a series of four J.
Hermann and one M. Tucker follow-up
email memoranda re the Racebrook proposal
(.30).

11/11/06 M. Levinson Lengthy email memorandum to Diversified 0.80 448.00
Fund professionals re my conversations
yesterday with A. Jarvis and R. Charles
concerning the Racebrook proposal (.20);
review lengthy R. Charles email
memorandum to various debtor parties re his
thoughts on the Racebrook proposal and
brief follow-up email memorandum to all
hands re the same (.20); review A. Jarvis
email memorandum in response to the R.
Charles email (.10); draft, revise and finalize
an email to V. Fracaro rejecting the
Racebrook proposal and send a brief follow-
up email memorandum to A. Jarvis and
others (.20); review M. Bloom email in
response to mine to V. Fracaro and analysis
re next steps in light of the same (.10).

11/13/06 M. Levinson Email memorandum to M. Bloom re 0.20 112.00
discussing a possible new Racebrook
proposal (.10); review a series of email
memoranda re arranging a conference call
next week with HFA to discuss the Colt
loans (.10).

11/13/06 M. Levinson Conference with B. Olson and A. Loraditch 0.40 224.00
re possible mediation with the USACM
Committee.
Case 06-10725-gwz__ Doc 3603-3 Entered 04/26/07 16:56:53 Page 9 of 74

O

ORRICK

Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 8 °

11/14/06 M. Levinson Telephone conversation with J. Hermann re 0.60 336.00

the upcoming call with HFA re the Colt
Gateway loans (.10); review S. Smith and A.
Jarvis email memoranda re responding to the
Racebrook proposal (.10); telephone
conversation with M. Bloom re the
Racebrook offer and next steps (.30);
exchange of email memoranda with R.

- Charles re the upcoming mediation (.10).

11/14/06 J. Hermann Participation in conference call with T. — ~ 1.40 798.00
Allison, M. Haftl, C. Harvick regarding
review of loan portfolio and results of recent
collection efforts (.90); telephone
conference with M. Levinson regarding
upcoming call on Colt Gateway loans and
related matters (.10); review and analysis of
loan documents and file materials bearing
upon issues raised in telephone conference
with T. Allison, et al (.40).

11/15/06 M. Levinson Portion of long telephone conversation with 1.90 1,064.00
C. Harvick and J. Hermann devoted to their
call this morning with representatives of
Homes for American, T. Allison, A. Jarvis
and others (.70); review J. Hermann notes of
such call (.10); portion of long telephone
conversation with A. Jarvis, T. Allison, R.
Koe, C. Harvick and J. Hermann re the
foregoing and re next steps (.60); exchange
of email memoranda with R. Charles re the
upcoming mediation (.10); review the T.
Allison report on the Amesbury Hatters
Point loan (.10); review email memorandum
from M Bloom re a possible new proposal
from Racebrook and forward the same to
Diversified Fund professionals under cover

‘ of an email memorandum (.20); exchange of
email memoranda with R. Charles and with
A. Loraditch re the upcoming mediation and
the requirements for filing statements with
the mediator (.10).
Case 06-10725-gwz__ Doc 3603-3 Entered 04/26/07 16:56:53 Page 10 of 74

O

ORRICK

Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 9

11/15/06 J. Hermann Participation in conference call with 5.70 3,249.00

representatives of Homes For America and
debtors, and C: Harvick and M. Tucker,
regarding Colt Gateway loans, default status
of same, borrower contention that no such
loans exist, but are instead capital
contributions, and related topics (1.30);
review and analysis of transaction
documents, including Colt Gateway LLC
operating agreement and loan modification
correspondence, in connection with the same
and in particular, assertions made by
borrower that loans are in fact capital
contributions (1.40); lengthy telephone
conference with C. Harvick regarding such
issues and merits of the same (.60); portion
of telephone conference with C. Harvick and
M. Levinson regarding results of Colt
Gateway call with borrower and other
matters (.70); review and analysis of Colt
Gateway loan documents in connection with
issues in lawsuit (.30); telephone conference
with A. Jarvis, T. Allison, C. Harvick, M.
Levinson, M. Tucker and other Mesirow
professionals regarding report of meeting
between T. Allison and J. Milanowski (.50);
portion of long call with C. Harvick, M.
Tucker and M. Levinson regarding
potentially imminent closing of Hotel Zoso
sale escrow and numerous issues in
connection with the same (.90).

11/16/06 R. Ragni Receive cali from J. Hermann regarding 2.30 897.00
research project related to involuntary
debtors (.20); begin to research issue in
Collier and call to update J. Hermann on my
research results (1.10); Continue to examine
and analyze Bankruptcy Reports for case
law that exists for the judicial review
standard, call J. Hermann and send the case
to him for his review and analysis (1.00).
Case 06-10725-gwz___Doc 3603-3 Entered 04/26/07 16:56:53 Page 11 of 74

O

ORRICK

Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 10

11/16/06 M. Levinson Review M. Bloom email memorandum re 1.30 728.00

next steps with respect to Racebrook and

telephone conversation with M. Bloom re

the same (.20); telephone conversation with

A. Loraditch and J. Hermann re possible

strategies for capturing the proceeds of the

’ sale of the Hotel Zoso (.20); portion of long

telephone conversation with T. Allison, J.

Atkinson, K. Glade, R. Koe, M. Tucker, C.

Harvick, A. Loraditch, J. Hermann and

others re the same, re the various HFA/Colt

loans (.60); review J. Hermann email re next

steps (.10); follow-up telephone

conversation with J. Hermann (.20).

11/16/06 J. Hermann Portion of call with Mesirow ~ 0.30 171.00

representatives, A. Loraditch, C. Harvick,

M. Tucker and M. Levinson (portion)

discussing borrower's aggressive position in

Colt Gateway loan and related matters.

11/16/06 M. Levinson Email to R. Charles and S. Freeman re 0.20 112.00
possible mediation with USACM.

11/16/06 M. Levinson Voicemail messages to R. Charles and S. 0.10 56.00
Freeman re possible mediation.

11/16/06 M. Levinson Exchange a series of follow-up email 0.50 280.00

memoranda with A. Loraditch and telephone
conversation with A. Loraditch re the
possible mediation and contacting the court
clerk re the same (.20); telephone
conversation with R. Charles re the
mediation (.10); exchange a series of follow-
up email memoranda with S. Freeman, R.
Charles and A. Loraditch (.20).
11/17/06 M. Levinson Exchange email memoranda with M. Bloom 0.70 392.00
re Racebrook status and issues (.10);
telephone conversation with M. Bloom re
the same and re next steps, if any (.20);
exchange of email memoranda with A.
Loraditch, S. Freeman and others re details
about the upcoming mediation (.10); review
exchange of email memoranda between D.
Hayes, C. Harvick and J. Hermann re the
Colt loans and issues related thereto (.30).
Case 06-10725-gwz__Doc 3603-3 Entered 04/26/07 16:56:53 Page 12 of 74

]

O

ORRICK

Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 11

11/17/06 J. Hermann Participation in exchange of email 0.80 456.00

correspondence regarding Colt Gateway
loan with borrower representatives seeking
response to informal discounted payoff offer
(.30); review and analysis of file materials
and transaction documents in connection
with the same and in connection with
assertion by borrower that loans are in fact
capital contributions (.50).

11/20/06 M. Levinson Email memorandum to A. Loraditch re next 0.20 112.00

: steps with respect to the upcoming
mediation with the USACM Committee
(.10); review follow-up email memoranda
from R. Charles and S. Freeman re the same
(.10).

11/21/06 M. Levinson Email memorandum to R. Charles and S. 0.70 392.00
. Freeman re procedures relating to the

upcoming mediation (.10); telephone
conversation with M. Tucker re the possible
offer from Racebrook (.20); email
memorandum to M. Tucker re the same
(.10); exchange follow-up email memoranda
with R. Charles and S. Freeman (.10);
review C. Carlyon email memorandum
requesting for a list of those who will be
attending the mediation, review the R.
Charles response thereto for the USACM
Committee and respond for the Diversified
Committee (.20).

11/21/06 J. Hermann Portion of telephone conference with C. 0.30 171.00
Harvick regarding merits of settlement
proposal made by HFA on Colt Gateway
loans, response to same, status of our
requests for additional financial information,
and further handling of matter.

11/29/06 J. Hermann Review and analysis of proposed turnover 0.80 — 456.00
motion drafted by Debtor counsel relating to
Bysynergy loan (.20); review and analysis
of loan documents to determine whether
USACM and Diversified Fund agreed not to

- record deed of trust until first deed of trust is
repaid (.30); participate in exchange of
email correspondence with Diversified
Committee professionals regarding issues in
connection with the same (.30).
Case 06-10725-gwz__Doc 3603-3 Entered 04/26/07 16:56:53 Page 13 of 74

O

ORRICK

Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 12

11/30/06 M. Levinson Portion of very long conference call re next 0.30 168.00

steps with S. Strong, A. Jarvis, E. Monson,
M. Tucker and J. Hermann devoted to next
steps with respect to collecting the Colt loan
(.20); portion of follow-up conversation with
J. Hermann and M. Tucker (.10).
11/30/06 M. Levinson Telephone conversation with R. Charles re 0.10 56.00
the upcoming mediation.

B120 — Asset Analysis and Recovery Total 39.90 22,150.00

Timekeeper Summary Hours Rate Amount
Jeffery D. Hermann 19.70 570.00 11,229.00
Marc A. Levinson 17.90 560.00 10,024.00
Rachel P. Ragni 2.30 390.00 897.00

Total All Timekeepers 39.90 $555.14 $22,150.00
Case 06-10725-gwz__Doc 3603-3 Entered 04/26/07 16:26:53 Page 14 of 74

O

ORRICK

Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 13

Task B130 — Asset Disposition & Sales

11/04/06 M. Levinson Exchange email memoranda with the 0.20 112.00
counsel for a potential acquirer of
Diversified Fund assets (.10); email
memorandum to M. Tucker and others re
possibly meeting with him and his client
(.10).

11/07/06 ™M. Levinson Review M. Bloom email memorandum re 1.00 560.00
scheduling a meeting to discuss a possible
proposal from his client and speak to his
secretary re the same (.10); telephone
conversation with M. Tucker re the same
and re today's upcoming call with R. Goe
and his client (.20); responsive email
memorandum to M. Bloom (.10);
exchange follow-up email memoranda
with V. Fracaro re a possible meeting next
week (.10); telephone conversation with
R. Goe, L. D'Lisio, M. Canfield, M.

Tucker and C. Harvick re R. Goe's client's
interest in purchasing several parcels in
which Investment Partners has an interest
(.40); follow-up conversation with M.
Tucker and C. Harvick (.10).

B130 — Asset Disposition & Sales Total 1.20 672.00
Timekeeper Summary Hours Rate Amount
Marc A. Levinson 1.20 560.00 672.00

Total All Timekeepers 1.20 $560.00 $672.00
Case 06-10725-gwz___ | Doc 3603-3 Entered 04/26/07 16:56:53 Page 15 of 74

O

ORRICK

Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 14

Task B152 — Meetings & Communications with other Committees

11/21/06 L. Ernce Attend and participate in all-hands 1.00 465.00
conference call re unauthorized
solicitation issues.
11/27/06 J. Hermann Participation in day-long USACM 9.10 5,187.00
unsecured creditor meeting for the purpose
of selecting USACM trust representative
that will administer USACM trust for the
benefit of USACM unsecured creditors,
the largest of which is the Diversified
Fund, including interviews of candidates
and participation of committee
considerations (8.40); conference with M.
Tucker regarding issues arising in such
deliberations (.30); telephone conference
with R. Charles regarding Diversified
Committee preference among candidates
(.20); telephone conference with M.
Levinson regarding results of day's
interviews and deliberations (.20).
11/29/06 J. Hermann Telephone conference with M. Tucker and 0.40 228.00
M. Levinson regarding further information
on selection by USACM of liquidating
trustee, involvement of T. Burr as a
potential candidate, whether other
committees would object to D. Walker as
the liquidating trustee and other related
issues (.40).
11/30/06 M. Levinson Exchange a series of email memoranda 0.10 56.00
with A. Jarvis and E. Karasik, with copies
to all estate professionals, re arranging an
ali-hands call for tomorrow afternoon. :

B152 — Meetings & Communications with other Committees Total 10.60 5,936.00
Timekeeper Summary Hours Rate Amount
Lynn T. Ernce 1.00 465.00 465.00
Jeffery D. Hermann 9.50 570.00 5,415.00
Mare A. Levinson 0.10 560.00 56.00

Total All Timekeepers 10.60 "$560.00 $5,936.00
Case 06-10725-gwz_ Doc 3603-3 Entered 04/26/07 16:56:53 Page 16 of 74

O

ORRICK

Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 15

Task B153 — Meetings & Communications with the Committee or members of the Committee

11/01/06 LL. Emnce Telephone call from R. Hardy re 0.10 46.50
upcoming committee meetings and email
memo to M. Levinson re same.
11/07/06 M. Levinson Telephone conversation with M. Schmahl 0.40 224.00
(.20); conference with L. Emce re
scheduling a Diversified Committee call
for November 10th and re issues relating
to the:same (.20).
11/07/06 L. Ernce Exchange emails with M. Levinson re 0.20 93.00
setting up next committee call and email
memo to Diversified Committee re
scheduling a call for November 10.
11/07/06 =L. Ernce Confer with M. Levinson re Diversified 0.40 186.00
Committee issues and scheduling next
meeting (.20); draft email memo to
Diversified Committee re same (.10);
review responses from various committee
members (.10).
11/08/06 M. Levinson Review L. Ernce email memorandum to 0.70 392.00
members of the Diversified Committee re
the November 10th conference call (.10);
review C. Harvick draft email
memorandum to members of the
Diversified Committee re the
compromises with First Trust Fund
memorialized in the plan, interlineate
comments to the same and respond to C.
Harvick (.30); telephone conversation with
J. Hermann in preparation for the call-
(30).
11/08/06 L. Ernce Email memo to Diversified Committee 0.40 186.00
members re debtors' plan and disclosure
. statement (.20); review C. Harvick email
memo to Diversified Committee re
additional information in preparation for
upcoming committee call (.20).
11/08/06 L. Ernce Telephone conference with M. Schmahl re 0.20 93.00
case status matters and his request for
documents; email memo to M. Schmahl
transmitting operating agreements and
articles of organization for DTDF.
Case 06-10725-gwz_ Doc 3603-3 Entered 04/26/07 16:56:53 Page 17 of 74

O

ORRICK
Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 16
11/10/06 J. Hermann Participate in lengthy Diversified 1.50 855.00
Committee telephonic meeting to discuss
filing of plan and disclosure statement,
terms of the same and regarding update on
all other matters being pursued.
11/10/06 = L. Ernce Participate in most of today's Diversified 1.30 604.50
Committee conference call.
11/10/06 M. Levinson Lengthy Diversified Committee 1.50 840.00
conference call.
11/13/06 M. Levinson Telephone conversation with R. Worthen 0.40 224.00

re this morning's disclosure statement
hearing and re the possible mediation with
the USACM Committee (.20); exchange
of email memoranda with R. Worthen
about one aspect of the plan and disclosure
statement (.10); review L. Erce email
memorandum to the Diversified
Committee scheduling a November 1 6th
call and laying out a brief agenda (.10).
11/14/06 = M. Levinson Long telephone conversation with R. 1.00 560.00

Worthen re the plan, re the draft letter to
Diversified Fund investors and re other
matters (.50); review the email
memorandum from S. Katz to A.
Loraditch re the draft letter, telephone
conversation with A. Loraditch re the

’ same and respond to S. Katz via email
(.20); follow-up conversation with R.

Worthen (.30).

11/14/06 L. Ernce Email memo to Diversified Committee re 0.10 46.50
next committee meeting.

11/16/06 M. Levinson Final preparation for Diversified 2.10 —— 1,176.00

Committee conference call (.20);
participate in very long Diversified
Committee conference call (1.80);
exchange follow-up email memoranda
with L. Ernce re upcoming Diversified
Committee conference calls (.10).
11/16/06 L. Ernce Email memo to R. Worthen and C. 0.10 46.50
Harvick re most recent name and address
list of DTDF investors.

11/16/06 L. Ernce Attend and participate in most of today's 1.90 883.50
Diversified Committee meeting.
11/17/06 M. Levinson Exchange a series of email memoranda - 0.10 56.00

with A. Loraditch re a possible member of
the Post-Effective Date DIDF Committee.
Case 06-10725-gwz_Doc 3603-3 Entered 04/26/07 16:56:53 Page 18 of 74

O

ORRICK
Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 17

11/17/06 L. Ernce Email memoranda to Diversified 0.10 46.50

Committee setting up next two committee
conference calls.
11/17/06 L. Emce Review A. Loraditch email re her . 0.20 93.00
discussion with potential candidate for
post-effective date Diversified Committee
(.10); review emails from M. Levinson
and B. Olson re other potential candidates
and issues (.10).
11/20/06 M. Levinson Exchange of follow-up email memoranda 0.10 56.00
re a possible candidate for the Post-
Effective Date DIDF Committee.

11/21/06 _ E. Lefever Attend most of a long conference call with 1.50 727.50
the Diversified Committee.

11/21/06 L. Ernce Attend and participate in Diversified 1.80 837.00
Committee meeting.

11/21/06 J. Hermann Participation in conference call with 1.70 969.00

Diversified Committee to discuss post-
effective date governance of DTF and
numerous related issues.

11/21/06 M. Levinson Exchange of email memoranda with L. 2.60 1,456.00
Ernce re possibly sharing the Cangelosi
letter with members of the Diversified
Committee (.10); long telephone
conversation with M. Schmahl re a
number of issues, including those relating
to the Cangelosi letter (.30); draft, revise
and finalize a lengthy email memorandum
to the members of the Diversified
Committee re the Cangelosi/Uhl letter and
other agenda items (.40); participate in
very long Diversified Committee
conference call (1.70); follow-up -
conversation with R. Worthen (.10).

11/27/06 EE. Lefever Participate in Diversified Committee call, 1.60 776.00
discussing the draft amended operating
agreement. ,

11/27/06 R. Ragni Review draft operating agreement for the 2.80 1,092.00

post-confirmation Diversified Fund
Committee and resumes and proposals of
potential plan administrators in
preparation for

Diversified Committee conference call
(1.30); attend conference call regarding
current status and the selection of a plan
administrator and post-confirmation
operating agreement (1.50).
Case 06-10725-gwz_Doc 3603-3 Entered 04/26/07 16:56:53 Page 19 of 74
ORRICK

Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006

Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 18

11/27/06 M. Levinson Send a series of email memoranda to the 2.10 1,176.00
members of the Diversified Committee re
the candidates for the DTDF
Administrator candidate (.20); telephone
conversation with M. Schmahl in
preparation for the upcoming Diversified
Committee call (.20); participate in very
long Diversified Committee conference
call (1.70).

11/27/06 L. Ernce Attend and participate in Diversified 1.70 790.50
Committee meeting (1.50); telephone
conference with R. Ragni after committee
meetings to answer questions and
coordinate on scheduling next meeting
(.20).

11/28/06 M. Levinson Prepare for tomorrow's Diversified 0.70 392.00
Committee conference call, including
sending an email to the Diversified
Committee professionals re the same
(.60); portion of long telephone
conversation with J. Hermann devoted to
preparation for tomorrow's conference call
(.10). .

11/28/06 ' R. Ragni Review email from M. Levinson regarding 0.10 39.00
committee call scheduled for Wednesday,
November 29, 2006.

11/29/06 E. Lefever Join portion of Diversified Committee call 3.40 1,649.00
to review operating agreement (1.60);
rejoin call to complete review of operating

agreement (1.80).

11/29/06 M. Levinson Telephone conversation with A. 6.30 3,528.00
Loraditch, with J. Hermann for part and
with L. Lefever for part, in preparation for
the upcoming Diversified Committee call
(.40); follow-up conversation with L.
Lefever and exchange a series of brief
follow-up email memoranda with her
(.20); participate telephonically in very,
very long Diversified Committee
conference call (5.70).
Case 06-10725-gwz _ Doc 3603-3 Entered 04/26/07 16:56:53 Page 20 of 74

O

ORRICK

Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 19

11/29/06 J. Hermann Participate in conference call with A. 5.70 3,249.00

Loraditch and M. Levinson regarding
matters to be discussed with DTF
committee members today and other
related issues (.30); participation in day
long Diversified Committee meeting
involving discussions of form of revised
operating agreement, interviews with
potential CEOs, selection of the same,
reports on recent activities in the case and
other committee business (5.40).

B153 — Meetings & Communications with the Committee or members of the 44.80 23,389.00
Committee Total

Timekeeper Summary Hours Rate Amount
Lynn_T. Ernce 8.50 465.00 3,952.50
Jeffery D. Hermann 8.90 570.00 5,073.00
Elizabeth Harris Lefever 6.50 485.00 3,152.50
Marc A. Levinson 18.00 560.00 10,080.00
Rachel P. Ragni 2.90 390.00 1,131.00

Total All Timekeepers 44.80 $522.08 $23,389.00
Case 06-10725-gwz__ Doc 3603-3 Entered 04/26/07 16:56:53 Page 21 of 74

O

ORRICK

Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 20

Task B154 — Meetings & Communications with the Creditors or Equity holders

11/01/06 M. Levinson Review email memorandum from 0.20 112.00
Diversified investor J. Bellas, email
memorandum to L. Ernce re the same and
review lengthy email memorandum to E.
Bellas (.10); review A. Loraditch and L.
Ernce email memoranda re format of
email memoranda to Diversified investors
(.10).
11/01/06 L. Ernce Review emails from M. Levinson and 0.30 139.50
investor M. Bellas (.10); online research re
article mentioned by M. Bellas for
purposes of responding (.10); draft
response to email from investor M. Bellas
(.10).
11/01/06 =L. Ernce Exchange emails with A. Loraditch re 0.10 46.50
responding to requests of Diversified
investor to communicate directly with
committee members.
11/03/06 M. Levinson Review lengthy email memorandum from 0.10 56.00

Diversified investors, the Riegers.
11/06/06 M. Levinson Telephone conversation with Diversified 0.20 112.00

Fund investor, P. Sindler (.10); telephone
conversation with L. Ernce re responding
to the same and review L. Ernce email
memorandum following her call with P.
Sindler (.10).

11/06/06 L. Ernce Review and respond to email from 0.10 46.50
investor B. Jensen.
11/06/06_—iL. _Ernce Review voicemails from investor P. 0.40 186.00

Sindler and M. Levinson re her questions
about proof of interest forms (.10);
telephone conference with investor P.
Sindler re same and case status matters
(.20); email memo to M. Levinson re my
calls with P. Sindler (.10).

11/07/06 M. Levinson Telephone conversation with Diversified 0.10 56.00
investor R. Sharpe.

11/08/06 M. Levinson Telephone conversation with Diversified 0.10 56.00
investor R. Sharpe.

11/08/06 L. Emce Emails with P. Stone re proofs of 0.20 93.00

claim/proofs of interest procedure and
related matters.

11/08/06 L. Ernce Telephone conference with Diversified 0.10 46.50
investor I. Henderson.
Case 06-10725-gwz__ Doc 3603-3 Entered 04/26/07 16:56:53 Page 22 of 74

O

ORRICK
Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 21 .
11/09/06 L. Ernce Telephone conference with Diversified 0.10 46.50
investor L. Horst.
11/10/06 M. Levinson Review the lengthy L. Ernce email 0.10 56.00
memorandum to Diversified investor, A.
Maestri, re the Compass offer and other
matters.
11/10/06. L. Ernce Review email inquiry from investor A: 0.40 186.00
Maestri and email memo to M. Levinson
re same (.10); review M. Levinson
response and exchange further emails with
M. Levinson and C. Harvick re same
(.10); draft email memo to investor A.
Maestri responding to his inquiries (.10);
‘review inquiry from investor A. Olsen
(.10).

11/10/06 L. Ernce Review email from C. Harvick re 0.20 93.00
Diversified Fund loan summary and
update website to include summary. .
11/10/06 L,. Ernce Exchange emails with M. Levinson re 0.10 46.50
responding to investors about timing of
proposed distributions.
11/13/06 L. Ermce Telephone conference with investor A. 0.20 93.00
Olsen and review email from A. Olsen
from last Friday evening seeking same
information discussed during call.
11/14/06 L. Emce Review email inquiries from investors 0.20 93.00
Huntington and Fitzner and exchange
emails with A. Loraditch re responding to
same.
11/14/06 L. Emnce Review emails from Diversified investors 0.50 232.50
complaining about information contained
in latest Edwards article in Las Vegas
newspaper (.20); obtain and review article
(.10); exchange emails with and telephone
conference with A. Loraditch and M.
Levinson re same (.20).

11/14/06 L. Ernce Review emails from investor re Great 0.10 46.50
White case.
11/15/06 M. Levinson Review lengthy L. Ernce email 0.10 56.00
. memorandum to Diversified investor L.
Taylor.
11/16/06 L. Ernce Review and respond to email inquiries 0.20 93.00

from investor L. Taylor.
Case 06-10725-gwz_ Doc 3603-3 Entered 04/26/07 16:56:53 Page 23 of 74

O

ORRICK
Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 22

11/16/06 L. Ernce Telephone conference with investor E. 0.30 139.50

Johnston re whom to contact re his
questions about tax consequences for 2006
(.10); email to C. Harvick and M. Tucker
re same and review response (.10); follow-
up telephone call with E. Johnston to
provide contact information for S. Smith
and J. Reed at Mesirow (.10).

11/20/06 L. Ernce Draft email memo responding to inquiry 0.50 232.50
from investor Hawkins (.10); telephone
conference with investor L. Vandon (.30);
email memo to L. Vandon to provide
further information and review L.

Vandon's response (.10).

11/21/06 L. Emce Review and respond to email from S. : 0.30 139.50
Greenbaum requesting status update on
case (.20); draft email memo responding
to inquiry from investor D. Huntington
(.10).

11/21/06 L. Ernce Review voicemail from investor G. Lewis 0.20 93.00
and from M. Levinson re responding to
same; attempts to reach investor G. Lewis;
exchange emails with R. Ragni re same.

11/24/06 L. Ernce Review emails from investor B. Susskind 0.30 139.50
and email to Diversified professionals re
responding to same (.20); review email
from investors Bowman and email from
M. Levinson re same (.10).

11/24/06 M. Levinson Review email memorandum from 0.10 56.00
Diversified investors, the Bowmans, and
exchange email memoranda with L. Ernce
re the same.

11/27/06 L. Ernce Return telephone call to investor J. 0.50 232.50
Gallegos re his questions about plan (.10);
return telephone call to investor G. Lewis
re general status matters including plan
(.20); return telephone call to investor
Mrs. Dean re her questions about plan
(.10); email memo to investor G. Lewis to
provide additional information (.10).
Case 06-10725-gwz__ Doc 3603-3 Entered 04/26/07 16:56:53

O

ORRICK

Official Committee of Equity Security Holders of USA Capital Diversified

Trust Deed Fund, LLC - 17908
page 23

11/28/06 L. Ermce

11/28/06 R. Ragni

11/29/06 L. Ernce
11/30/06 L. Ernce

11/30/06 R. Ragni

Review additional emails from investors
Bowman and draft email responding to
same; review M. Levinson email re my
response to Bowmans (.20); draft email
responding to email from investor S.
Walther (.10); draft lengthy email
response to investor R. Susskind (.20);
review further email from R. Susskind and
draft email response (.10); exchange
emails with A. Loraditch re sare (.10).
Review email update from L. Ernce
regarding investor question about potential
criminal prosecution (.10); review email
from investor, B. Susskind, regarding his
concerns in the case and review email
from L. Ernce in response to his questions
(.20); review email from A. Loraditch in
response to L. Ernce's question on how to
respond to B. Susskind (.10); review
second response to B. Susskind's response
email to L. Ernce's initial response (.10)
Exchange emails with investor S. Walther.
Review and respond to email from
investors Abodeely (.10); emails with J.
Miller at BMC Group re Abodeely change
of address and related matters (.10);
review and respond to inquiry from B.
Jensen (.10).

Review email from investor Mr. Abodeely
and respond to the same.

B154 — Meetings & Communications with the Creditors or Equity holders
Total
Timekeeper Summary Hours Rate Amount
Lynn T. Ernce 6.40 465.00 2,976.00
Marc A. Levinson 1.00 560.00 560.00
Rachel P. Ragni 0.60 390.00 234.00
Total All Timekeepers — 8.00 $471.25 $3,770.00

Page 24 of 74

December 29, 2006
Invoice No. 1047512

0.70

0.50

0.10

0.30

0.10

8.00

325.50

195.00

46.50

139.50

39.00

3,770.00
Case 06-10725-gwz. Doc 3603-3 Entered 04/26/07 16:36:53 Page 25 of 74

O

ORRICK

Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 24

Task B160 — Fee/Employment Applications

11/07/06 L. Ernce Attention to Orrick prebill for Diversified 0.30 139.50
case for October 2006.
11/20/06 L. Ernce Confer with M. Levinson re timing for 0.60 279.00

preparing and circulating monthly fee
statement for October 2006 (.10); email to
all "reviewing parties" under interim fee
procedures order proposing that, in light of
Thanksgiving holiday, all agree that
submission date can be moved from
November 25 to November 28 and review
affirmative responses from all committees
(.20); follow-up emails and telephone calls
with S. Strong re debtors’ approval of
same (.20); email to all confirming that all
have agreed to November 28 submission
deadline (.10).

11/21/06 L. Emce Detailed review and edit of Orrick's prebill 2.30 1,069.50
in preparation for drafting monthly fee
statement for October 2006 (2.20); emails
to billing coordinator and R. McKinney re

same (.10).
11/23/06 M. Levinson Attention to the October Orrick bill. 1.50 840.00
11/25/06 — M. Levinson Further attention to the October Orrick 0.40 224.00
invoice.
11/27/06 L. Ernce Further attention to Orrick's prebill and 1.70 790.50

revising and finalizing invoice and
drafting and revising Orrick's monthly fee
statement (1.50); draft email memo
circulating Orrick's monthly fee statement
to "reviewing parties" and to Committee
chair (.10); draft letters to A. Landis and
R. Worthen re same (.10).
11/27/06 M. Levinson Further attention to finalizing the October 0.30 168.00
Orrick bill, including an exchange of
email memoranda with L. Ernce re the
same.
11/28/06 L. Ernce Telephone conference with M. Tucker re 0.30 139.50
his plans to circulate FTI monthly fee
statements and related logistics; emails
with M. Tucker re same and email to M.
Levinson re same.

B160 — Fee/Employment Applications Total 7.40 3,650.00
Case 06-10725-gwz_ Doc 3603-3 Entered 04/26/07 16:56:53 Page 26 of 74

O

ORRICK
Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 25
Timekeeper Summary Hours Rate Amount
Lynn T. Ernce 5.20 465.00 2,418.00
Marc A. Levinson 2.20 560.00 1,232.00

Total All Timekeepers 7.40 $493.24 $3,650.00
Case 06-10725-gwz_ Doc 3603-3 Entered 04/26/07 16:56:53 Page 27 of 74

O

ORRICK

Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 26

Task B170 — Fee/Employment Objections

11/01/06 LL. Ernce Review portions of monthly fee statements 0.50 232.50
from estate professionals (.40); email
memo to M. Tucker and C. Harvick re
Ray Quinney monthly fee statement for
August and that firm has not served more
recent fee statements (.10).
11/14/06 L. Ernce Review M. Levinson comments to draft 0.80 372.00
letter to A. Landis responding to US
Trustee's objections and attention to
revising letter to address M. Levinson
comments.
11/15/06 =L. Ernce Review email from A. Landis and US 0.40 186.00
Trustee's latest objections to multiple
professionals' monthly fee statement,
including Orrick's fee statement for
September.
11/16/06 L: Ernce Email memo to M. Levinson summarizing 0.20 93.00
U.S. Trustee objection to Orrick's fee
statement and next steps for responding
and review M. Levinson response re same.
11/27/06 L. Ernce Review portions of monthly fee statements 0.30 139.50
circulated by professionals for FTDF and
USACM committees as well as debtors’
local counsel.

B170 — Fee/Employment Objections Total 2.20 1,023.00
Timekeeper Summary Hours Rate Amount
Lynn T. Ernce 2.20 465.00 _- 1,023.00

Total All Timekeepers 2.20 $465.00 $1,023.00
Case 06-10725-gwz_ Doc 3603-3 Entered 04/26/07 16:36:53

O

ORRICK

Official Committee of Equity Security Holders of USA Capital Diversified
’ Trust Deed Fund, LLC - 17908
page 27

Task B210 — Business Operations
11/20/06 L. Ermce

Obtain and review portions of debtors’
monthly operating reports (.30); circulate ~
to Diversified professionals and update
Diversified Committee's website to
include monthly operating reports (.30).

B210 — Business Operations Total

Timekeeper Summary Hours Rate Amount
Lynn _ T. Ernce 0.60 465.00 279.00
Total All Timekeepers 0.60 $279.00

$465.00

Page 28 of 74

December 29, 2006
Invoice No. 1047512

0.60 279.00

- 0.60 279.00
Case 06-10725-gwz,Doc 3603-3 Entered 04/26/07 16:56:53 Page 29 of 74

O

ORRICK

Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 28

Task B310 — Claims Administration and Objections

11/01/06 =~M. Levinson Further attention to the draft order 0.10 56.00
extending time for direct lenders to file
proofs of claim, including review of and
response to B. Higgins and A. Loraditch
email memoranda.
11/03/06 L. Ernce Review notice of appeal filed by Prospect 0.20 93.00
High Income Fund and email to M.
Levinson and A. Loraditch re same; email
to Diversified Committee notifying them
of appeal and next steps.
11/06/06 L. Ernce Review notices related to Prospect High 0.20 93.00.
Income Fund appeals and emails to M.
Levinson and A. Loraditch re same.
11/09/06 L. Ernce Review B. Olson email memo re Standard 0.20 - 93.00
Property Development appeal and emails
to B. Olson re Diversified does not have
an interest in that matter (.10); review
follow-up emails from B. Olson re same
(.10).
11/13/06 M. Levinson Review the various proofs of claim 0.60 336.00
prepared by W. McGimsey for various
Diversified Fund investors (.20);
conference with B. Olson and A.
Loraditch re the same and re next steps in
response to the same (.20); exchange a
series of email memoranda with L. Ernce
and others re the status of the order
extending the time to file intercompany
claims (.10); review the J. Milanowski
proof of interest filed in the USA Realty
Advisors case and review the L. Ernce
email memorandum re the same (.10).
11/14/06 M. Levinson Telephone conversation with R. Charles re 0.20 112.00
one of the large claims in the USACM
case (.10); telephone conversation with A.
Loraditch re omnibus objections (.10).
Case 06-10725-gwz Doc 3603-3 Entered 04/26/07 16:56:53 Page 30 of 74

O

ORRICK

Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 29

11/14/06 -L. Ernce Review proof of interest filed by J. 0.50 232.50
Milanowski against USA Capital Realty
Advisors and email memo to Diversified
professionals summarizing claim (.20);
review M. Levinson email requesting
status of order on intercompany claims
and email to L. Dorsey re same (.10);
review proof of interest filed by J.
Milanowski against USACM and email to
Diversified professionals summarizing
same (.20).
11/17/06 M. Levinson Review the proposed form of order on the 0.30 168.00
motion to exclude debtors from having to
file inter-company claims, interlineate a
comment thereto and send to all hands
under cover of an explanatory email
memorandum (.20); email memorandum
to B. Olson and A. Loraditch re
responding to Diversified investor proofs
of claim seeking damages for securities
violations and review brief B. Olson
responsive email memorandum (.10).
11/17/06 L. Ernce Review draft order on intercompany 0.10 46.50
claims.
11/18/06 M: Levinson Review email memoranda re the form of 0.10 56.00
order approving the extension of time to
object to intercompany claims.
11/30/06 M. Levinson Review lengthy A. Jarvis email 0.20 112.00
memorandum re objecting to claims prior
to the confirmation hearing.

. B310— Claims Administration and Objections Total 2.70 1,398.00
Timekeeper Summary Hours Rate Amount
Lynn T. Ermce 1.20 465.00 558.00
Marc A. Levinson 1.50 560.00 840.00

Total All Timekeepers 2.70 $517.78 $1,398.00
Case 06-10725-gwz-Doc 3603-3 Entered 04/26/07 16:56:53 Page 31 of 74

O

ORRICK

Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 30

Task B320— Plan and Disclosure Statement (including Business Plan)

11/01/06 M. Levinson Review lengthy E. Karasik, J. Hermann andG. 0.40 224.00
Garman email memoranda re plan issues (.20);
exchange a series of email memorandum with
R. Charles, 8. Freeman, J. Hermann and M.

Tucker re tomorrow's plan negotiations
meeting (.10); review a series of email
memoranda from L. Schwartzer, S. Strong, C.
Pajak and others re a telephonic hearing on the
Silver Point asset purchase agreement on
November 3rd and respond to the same (.10).

11/01/06 J. Hermann Participation in exchange of email 0.90 513.00
correspondence with counsel for the Direct
Lenders and the First Trust Deed committees
regarding the revisions made to the plan of
reorganization term sheet (.30); review and
analysis of the same and current drafts of the
plan of reorganization and disclosure
statement in connection with upcoming further
negotiations with the USACM committee on
the terms of a consensual plan of
reorganization (.60).

11/01/06 L. Ernce Telephone conference with A. Loraditch re 0.50 232.50
drafting Diversified Fund insert to disclosure
statement (.20); review and comment upon

draft statement (.30).

11/01/06 _L. Ernce Review exchange multiple emails throughout 0.40 186.00
the day among debtors and committee counsel
re disclosure statement issues.

11/01/06 -L. Ernce Review emails from S. Strong, C. Pajak, R. 0.10 46.50
Charles and others re status of issues related to
Silver Point asset purchase agreement.

11/02/06 M. Levinson Initial review of the draft Diversified Fund 0.80 448.00
insert to the disclosure statement prepared by.

A. Loraditch (.20); review the lengthy L.
Ernce email memorandum re the same (.10);
review the draft First Trust summary (.10);
review lengthy E. Karasik email memorandum
re the portion of the asset purchase agreement
that will be the topic of tomorrow's telephonic
hearing and respond to E. Karasik and C.
Pajak re the same (.20); review two lengthy E.
Karasik email memoranda re her most recent
draft of the plan (.20).

Case 06-10725-gwz —Doc 3603-3 Entered 04/26/07 16;56:53 Page 32 of 74

O

ORRICK
Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 31 :
11/02/06 L. Ernce Review emails re loan modification order 0.60 279.00
(.10); review emails re issues related to the
Silver Point asset purchase agreement and
logistics for getting it to Judge Riegle (.10);
review next version of revised plan term sheet
(.20); emails to M. Levinson re draft
Diversified Fund insert for disclosure
statement and make further revisions to same
. (.20).
11/03/06 M. Levinson Exchange a series of email memoranda with S. 3.90 2,184.00

Strong and other counsel re the upcoming
conference call hearing (.20); review portions
of the Silver Point asset purchase agreement
(.40); telephone conversation with C. Pajak
and E. Karasik re the portion of the Silver
Point asset purchase agreement dealing with
binding borrowers as to their loan balances
and re plan issues (.20) participate in
conference call hearing re the Silver Point
asset purchase agreement (.60); very long
conference call with A. Jarvis, E. Karasik, R.
Charles, C. Pajak, M. Tucker and others re
Silver Point and plan issues (1.10); follow-up
conversation with M. Tucker and M. Tucker
(.20); review lengthy A. Jarvis email
memorandum re next steps with respect to the
plan and disclosure statement and review the
E. Karasik response thereto (.10); review a
number of email memoranda suggesting and
discussing new language to the asset purchase
agreement from C. Pajak, C. Carlyon, A.
Jarvis and others (.20); review and revise the
draft Diversified Fund insert to the disclosure
statement (.80); review lengthy C. Harvick
email memorandum re his comments to the
draft plan circulated yesterday (.10).
Case 06-10725-gwz__ Doc 3603-3 Entered 04/26/07 16:56:53 Page 33 of 74
: f . .

O

ORRICK

Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 32

11/03/06 J. Hermann . Participation in exchange of email 2.80 1,596.00
correspondence with all professionals in case

regarding upcoming conference call (.20);
review and analysis of asset purchase
agreement in connection with issues to be
discussed on such call (.40); participation in
conference call with all hands regarding issues
arising under asset purchase agreement and
other matters (.60); participation in
conference call with A. Jarvis, T. Allison, E.
Karasik, G. Garman, M. Tucker, M. Levinson,
C. Harvick, R. Charles, etc. regarding plan of
reorganization issues (1.10); follow-up
telephone conference with M. Tucker and M.
Levinson regarding the same and related
matters (.20); review and revision of
Diversified Fund insert to disclosure statement
(.30).

11/03/06 L. Ernce Review next versions of joint plan term sheet 1.50 697.50
under different scenarios with Diversified
Fund (.50); revise next versions of revised
asset purchase agreement and redlines (.30);
further modify Diversified Fund's insert to the
disclosure statement (.50); email memo to M.
Levinson and J. Hermann re same and next
steps (.10); review multiple emails among
debtor and committee counsel about further
changes to asset purchase agreement (.20).

11/04/06 M. Levinson Exchange as series of email memoranda with 3.30 1,848.00
C. Pajak re the status of the next draft of the
plan (.20); review the draft plan and -
interlineate comments thereto (1.80);
telephone conversation with K. Pajak re the
same and re next steps (.20); follow-up email
memorandum to M. Tucker and J. Hermann re
the same (.10); participate in a series of
follow-up email memoranda to J. Hermann, C.
Pajak and others re the draft plan and re next
steps (.20); begin reviewing the next draft of

the plan (.80).
11/04/06 J. Hermann Initial review and analysis of draft plan of 1.40 798.00
reorganization and disclosure statement.
11/04/06 L. Ernce Review emails re status of Diversified Fund 0.10 46.50

changes to plan.
Case 06-10725-gwz__ Doc 3603-3 Entered 04/26/07 16:56:53 Page 34 of 74

O

ORRICK

Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 33

11/05/06 M. Levinson Telephone conversation with M. Tucker and 6.30 3,528.00
C. Harvick re plan status and plan issues (.20);
telephone conversation with J. Hermann re the
same (.10); review the chain of email
memoranda among the debtors' and the
committees' professionals re a call later today
and respond to the same (.10); continue
reviewing and interlineating comments to the
revised draft plan circulated late yesterday by
C. Pajak (1.60); very long telephone
conversation with J. Hermann re our
comments to the same (1.10); interlineate
additional comments to the draft plan and
email the same to all hands (.50); very long
all-hands call re the draft plan during which
we go over the plan page-by-page (2.20);
portion of conversation with M. Tucker
devoted to plan and follow-up issues (.10);
initial review of the revised draft plan
circulated by C. Pajak late this afternoon (.30);
review A. Jarvis email memorandum to J.
McCarroll re the asset purchase agreement
(.10).

11/05/06 J. Hermann Extensive review and analysis of planof 6.30 3,591.00
reorganization and disclosure statement (1.50);
telephone conference with M. Levinson
regarding comments to plan of reorganization
and disclosure statement (1.10); preparation
of comments and proposed changes to
disclosure statement (1.10); participation in
lengthy conference call with professionals of
debtors and all committees to review plan of
reorganization and disclosure statement (2.20);
follow-up telephone conference with
Diversified Fund professionals regarding the
same (.30).

11/05/06 =L. Emce Review M. Levinson email and revised plan 0.60 279.00
with Diversified Fund comments (.30); review
emails from S. Freeman and S. Smith re same
(.10); review email from S. Strong with
proposed stipulation re balloting procedures
and email from M. Levinson re same (.20).
Case 06-10725-gwz__ Doc 3603-3 Entered 04/26/07 16:56:53 Page 35 of 74

O

ORRICK

Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 34

11/06/06 M. Levinson Continue reviewing the revised draft plan 7.30 4,088.00

circulated yesterday by C. Pajak (.50);
telephone conversation with J. Hermann re the
same (.20); telephone conversation with C.
Harvick and J. Hermann re next steps (.20);
exchange email memoranda with L. Ernce re
balloting procedures and the form of ballots
(.20); review the next draft of the plan
(forwarded by A. Jarvis) and review and
respond to numerous email memoranda from
committee counsel, debtors' counsel and
financial advisors with comments thereto
(2.40); very, very long all-hands call during
which we go through today's draft of the plan
and disclosure statement, and during which IJ
exchange numerous email memoranda with J.
Hermann and L. Emce re the disclosure
statement (3.40); follow-up conversation with
L. Emce and J. Hermann re next steps (.10);
initial review of the draft plan summary
prepared by C. Carlyon (.30).

11/06/06 J. Hermann Extensive review and analysis of further 7.80 4,446.00
revised plan of reorganization, including
preparation of comments and changes to the
same (1.40); extensive review and analysis of
revised disclosure statement, including
preparation of comments and changes to the
same (1.80); participation in exchange of
voluminous email correspondence with all
committee representatives and debtor
representatives regarding comments to plan of
reorganization and suggested changes to the
same (.50); review and analysis of comments
to plan of reorganization received from
USACM committee professionals (.40);
participation in multi-hour conference call
with all committee representatives and debtor
representatives to discuss all comments and
suggested changes to plan of reorganization
and disclosure statement (3.50); follow-up
telephone conference with L. Ernce and M.
Levinson regarding transmission of changes to
disclosure statement to debtor and timing for
tomorrow's calls on the disclosure statement
(.20).
Case 06-10725-gwz_ Doc 3603-3 Entered 04/26/07 16:56:53 Page 36 of 74

O

ORRICK

Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 35

11/06/06 L. Ernce Attend portion of all-hands call discussing 2.10 976.50
disclosure statement issues (1.70); revise and
finalize Diversified Fund comments to draft
disclosure statement (.30); email memo to
debtors' and committees’ counsel re same
(10).

11/06/06 L. Ernce Review and comment upon draft solicitation 3.80 1,767.00
procedures (.20); email memo to M. Levinson
re questions about Diversified Fund input into
extension of voting deadline and related issues
and telephone conference with M. Levinson re
same (.20); further revise draft solicitation
procedures and email to debtors’ and
committee counsel re same (.30); exchange
emails with S. Strong re Diversified Fund's
changes to balloting procedures (.10);
substantive review of next versions of
disclosure statement in preparation for today's
disclosure statement conference call (1.60);
exchange emails with J. Hermann and M.
Levinson re issues and comments re same
(.30); email memo to M. Levinson and J.
Hermann re my additional comments to latest
version, including treatment of Diversified
Fund insert (.20); draft and revise edits to next
version of disclosure statement in advance of
call (.70); emails with J. Hermann re same

(.20). .

11/07/06 J. Hermann extensive review and analysis of revised 8.90 - 5,073.00
disclosure statement including preparation of
comments and suggested changes to the same
(1.50); review and analysis of proposed
changes to disclosure statement received from
C. Harvick and L. Ernce (.40);. review and
analysis of S. Freeman's proposed changes to
disclosure statement (.40); review and
analysis of extensive proposed changes to
disclosure statement received from First Trust
Committee (.90); participation in exchange of
email correspondence with Diversified
Committee professionals regarding
coordination of comments to disclosure
statement (.30); review and analysis of several
successive drafts of re-write of section of
disclosure statement dealing with settlement of
claims involving direct lenders (.40); review
and analysis of further changes to disclosure
statement received from S. Freeman (.30);
Case 06-10725-gwz__ Doc 3603-3 Entered 04/26/07 16:56:53 Page 37 of 74

O

ORRICK

Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 36

telephone conference with L. Ernce and M.
Levinson regarding numerous drafts of
disclosure statement circulating and delegation
of tasks prior to conference call (.30);
participation in multi-hour conference call
with professionals from all committees and
debtors regarding changes to disclosure
statement and related substantive provisions of
plan of reorganization (2.60); review and
revision of disclosure statement insert dealing
with negotiations between USACM and
Diversified Committees (.60); review and
analysis of several revised versions of the
same (.30); review and revision of plan
summary received from C. Carlyon (.40);
incorporate changes received from L. Ernce
into such plan summary (.20); participation in
exchange of numerous emails with all
_ committee professionals and debtor
professionals regardirig the same (.30).
11/07/06 M. Levinson Portion of telephone conversation with M. 3.80 2,128.00
Tucker and C. Harvick devoted to plan and
post-confirmation issues (.10); telephone
conversation with J. Hermann,. with L. Ernce
for part, re plan issues and the various drafts of
the disclosures statement in preparation for the
upcoming all-hands call (.30); exchange a
series of email memoranda with C. Harvick
and J. Hermann re plan issues (.20); telephone
conversation with S. Strong re plan issues
(.10); review the proposed revised definition
of "insider" in the asset purchase agreement
and a number of email memoranda regarding
the same, including those by counsel for the
debtors, counsel for committees and counsel
for Silver Point (.30); participate in portions of
the all-hands call re the draft of the disclosure
statement and re related plan issues, during
which I agree to the revised definition of
"insider" (.60); telephone conversation with A.
Jarvis and L. Ernce re plan issues (.20); review
numerous email memoranda from R. Charles,
E. Karasik, J. Hermann and others re proposed
inserts to and changes to the draft disclosure
statement and respond to a number of them
(.50); review the exchange of L. Ermce and C.
Harvick follow-up email memoranda in
response to the request by A. Jarvis that we
Case 06-10725-gwz__ Doc 3603-3 Entered 04/26/07.16:56:53 Page 38 of 74

O

ORRICK

Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 37

provide information about excluded loans
(.20); email memorandum to A. Jarvis re the
same (.10); further review of the draft plan
summary and review the suggested changes
submitted by a number of counsel and
interline comments thereto (.50); email my
interlineated comments to all hands under
cover of an explanatory memorandum (.10);
review numerous follow-up email memoranda
by C. Carlyon, C. Pajak, G. Garman, A. Jarvis,
R. Charles, S. Freeman, L. Schwartzer and
other counsel, and review the draft plan
summary in light of the suggested changes
(.60).
11/07/06 L. Ernce Participate in all-hands conference call re 1.60 744.00
disclosure statement issues.
11/07/06 L. Ernce Continue reviewing and revising latest draftof 5.10 2,371.50
disclosure statement (.90); review portions of
amended chapter 11 plan (.60); email memo to
Diversified Committee professionals re same
(.10); review S. Freeman emails and USACM
committee's comments to revised disclosure
statement (.20); further revisions to latest
disclosure statement draft to include my
comments and comments from C. Harvick
(.50); review J. Hermann email re status of his
comments (.10); review J. Hermann revisions
to disclosure statement (.10); email memo to
debtors' and committees’ counsel re next set of
Diversified Committee comments and changes
to disclosure statement (.10); review First
Trust Committee's comments and edits to
disclosure statement (.20); review additional
USACM changes to disclosure statement and
redline (.10); review emails from G. Garman
re direct lender comments to revised
disclosure statement (.10); email memo to J.
Hermann re comments about First Trust
Committee's revisions to disclosure statement
and J. Hermann's response (.10); review
redline of comments showing USACM edits to
direct lenders' comments (.10); review emails
from C. Harvick and M. Levinson re certain
changes about Diversified Committee made by
First Trust Committee counsel (.10); review
further exchanges of emails between USACM
and direct lender counsel about further
changes to disclosure statement (.20); review
Case 06-10725-gwz__ Doc 3603-3 Entered 04/26/07 16:56:53 Page 39 of 74

O

ORRICK

Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512

page 38

J. Hermann emailed comments re revisions to
disclosure statement (.10); review extensive
exchange of emails among debtors’ and
committees’ counsel re additional changes and
issues related to the disclosure statement (.40);
review emails and draft language describing
the USACM sale (.20); email memorandum to
M. Levinson and J. Hermann re my comments
to ‘same (.10); review C. Carlyon email and
review and comment upon draft disclosure
statement summary (.30); email memo to J.
Hermann re my comments so he can add any
comments as well (.10); review J. Hermann
email to C. Carlyon and further revised
disclosure statement summary (.10); review
further multiple exchanges about disclosure
statement among all debtors and committees'

_ counsel (.40).

11/07/06 —-L. Ernce Telephone conference with M. Levinson and 0.30 139.50
A. Jarvis re plan and disclosure statement
issues (.20); email to C. Harvick re question
posed by A. Jarvis about DTDF loans.

11/08/06 J. Hermann Review and analysis of redline of plan of” 0.70 399.00
reorganization showing changes made on
version filed with Bankruptcy Court (.30);
review and analysis of errata to plan of
reorganization (.10); review and analysis of
final version of disclosure statement filed with
Bankruptcy Court (.30).

11/08/06 M. Levinson Telephone conversation with J. Hermann re 1.60 896.00
next steps with respect to the plan (.20);
review the next version of the disclosure

_ Statement (circulated by C. Pajak) and the
‘blackline comparing it to last's night's version
(1.20); review follow-up email memoranda re
the plan and disclosure statement (.20).

11/08/06 L. Ernce Review debtors’ errata to second amended 0.50 232.50
plan, debtors' coversheet summary of
disclosure statement and portions of disclosure
statement filed by debtors last evening (.40);
email to Diversified professionals re same
(.10); review E, Karasik email and redlined
version of plan (.20); review draft notice of
confirmation and solicitation procedures (.20).
Case 06-10725-gwz__ Doc 3603-3 Entered 04/26/07 16:56:53 Page 40 of 74

O

ORRICK

Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512

page 39

11/09/06 M. Levinson Review numerous email memoranda re the 0.70 392.00
filing of the confirmation procedures
pleadings sent by C. Carlyon, C. Pajak, E.
Karasik, A. Jarvis, R. Charles and others (.20);
review lengthy A. Jarvis email memoranda re
confirmation procedures and her proposed
presentation of the same at the November 13th
hearing (.10); review the exchange of follow-
up email memoranda from E. Karasik and
others (.10); review and analyze the email
memorandum from S. Lavigna of the SEC re
the failure to disclose information re post-
Effective Date governance information, and
review and analyze the lengthy A. Jarvis and
R. Charles email memoranda in response
thereto (.20); review A. Jarvis email
memorandum re possible changes to the plan
to deal with issues in USA Capital Realty and
re a conference call tomorrow morning re the
same (.10).

11/09/06 L. Ernce Review bid procedures order and email to 1.10 511.50
Diversified Committee professionals re same
(.20); review emails re filing of proposed
balloting and confirmation procedures from E.
Karasik and A. Jarvis (.10); review emai] from
C. Pajak and revisions to proposed
confirmation procedures and review follow up
emails from A. Jarvis and E. Karasik re same
(.20); review First Trust Committee clean-up
changes to the disclosure statement (.30);
review R. Charles comments to proposed
confirmation procedures and email to debtor
and committee counsel re my comments to
same (.10); review multiple emails from
committee counsel re additional clean-up
changes to disclosure statement (.20).

11/09/06 = J. Hermann Review and analysis of proposed changes to 0.70 399.00
plan of reorganization (.30); review and
analysis of email regarding inquiries of SEC
as to disclosure of post-reorganization
management and compensation of the same
(.20); consideration and analysis of issues in
connection with the same and timing with
respect to Diversified Committee selection of
CEO for Post-Effective Date DTDF (.20).
Case 06-10725-gwz__ Doc 3603-3 Entered 04/26/07 16:56:53 Page 41 of 74

O-

ORRICK

Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 40

11/10/06 J. Hermann Participation in all-hands conference call to 3.70 2,109.00

discuss treatment of USA Realty Advisors in
plan of reorganization and fact that current
version of plan of reorganization. assumes no
assets of such debtor, which is incorrect (.70),
telephone conference with A. Jarvis and M.
Levinson regarding such issues and reasons
why Diversified Fund should forgo any claim
to cash on hand of USA Realty Advisors (.20);
portion of telephone conference with A. Jarvis,
C. Harvick, J. Atkinson, M. Levinson and M.
Haft] regarding treatment of Diversified Fund
claim against USA Realty Advisors and
related topics (.20); participation in follow-up
all hands conference call regarding proposal
for treatment of Diversified Fund claim
against USA Realty Advisors and regarding
liquidation analysis as to the same and related
issues (.50); extensive review and analysis of
alternative plan of reorganization proposal just
received involving pooling of assets among
USACM, Diversified Fund and Investment
Partners (1.20); participation in telephone
conferences with R. Charles, A. Jarvis and M.
Levinson regarding such proposal, substance
‘of the same, need for prompt and decisive
response to the same and related matters (.40);
preparation of comments to such proposal —
pointing out challenges to the same (.30);
participation in exchange of email
correspondence with Diversified Fund
professionals regarding the same (.20).
Case 06-10725-gwz__ Doc 3603-3 Entered 04/26/07 16:56:53 Page 42 of 74

O

ORRICK

Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 41

11/10/06 M. Levinson All-hands conference call re plan, disclosure 2.50 1,400.00

statement and other issues (.70); portion of
long telephone conversation with A. Jarvis, J.
Fasel, M. Haftl, C. Harvick and J. Hermann
devoted to plan issues (.20); draft revise and

. finalize an email memorandum to S. Lavigna
of the SEC re the Diversified Committee's
deliberations with respect to staffing the Post-
Effective Date entities and committees (.40) -
follow-up all-hands call plan, disclosure
statement and other issues (.50); review the
draft First Trust Committee letter in support of
the plan and exchange brief email memoranda
re the same with L. Ernce and J. Hermann
(.20); initial review of the draft order
approving disclosure statement circulated by
E. Karasik (.20); review the exchange of
follow-up email memoranda from A. Jarvis
and E. Karasik (.10); initial review of the draft
letter to Diversified Fund investors in support
of the plan, as drafted by L. Ernce (.20).

11/10/06 L. Ernce Review First Trust letter re support of plan 0.70 325.50
(.10); draft and revise letter to be sent to
Diversified Fund investors indicating
Diversified Committee's support of plan (.50);
email to M. Levinson re same (.10).

11/10/06 L. Ernce Review draft proposal from Racebrook and 0.80 372.00
multiple emails from J. Hermann re his
comments in response to proposal.

11/11/06 M. Levinson Review a series of lengthy email memoranda 0.50 280.00
exchanged between R. Charles, G. Garman, A.
Jarvis and others re the treatment of servicing
fees and related issues under the plan (.20);
review the next draft of the order approving
the disclosure statement and review a series of
email memoranda from estate professionals
commenting on the same and making
suggestions for certain changes (.20); review
lengthy J. Gordon email memorandum re
disclosure statement issues (.10).

11/11/06 = J. Hermann Further review and analysis of Racebrook 0.70 399.00
proposal (.30); further consideration and
analysis of reasons the same should be
rejected outright (.10); participation in
exchange of email correspondence with debtor
and committee professionals regarding the
same (.30).
Case 06-10725-gwz__Doc 3603-3 Entered 04/26/07 16:56:53 Page 43 of 74

O

ORRICK

Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 42

11/11/06 _L. Ernce Review next versions of draft order approving 0.30 139.50
: disclosure statement and redlines.

11/12/06 M. Levinson Review and analyze the version of the plan 3.40 1,904.00
circulated late yesterday in blacklined format
and review R. Charles email memorandum
containing his comments thereto (1.10);
telephone conversations with S. Freeman, C.
Harvick and J. Hermann re plan issues and
draft (.40), revise and finalize an email
memorandum to all hands re my comments
(.30); exchange numerous email memoranda
with estate professionals re the draft plan,
including several with E. Karasik in response
to my earlier comments (.40) telephone
conversation with C. Harvick and J. Hermann
re aspects of the draft plan (.50); exchange a
series of email memoranda with J. Hermann
relating to post-effective date access to data
and records (.20); draft and revise an insert to
the plan re and email to J. Hermann and C.
Harvick re the same (.30); review their
responsive email memoranda and suggested
changes (.20).

11/12/06 J. Hermann Review and analysis of new version of planof 3.20 1,824.00

: reorganization (1.10); telephone conferences

with M. Levinson, S. Freeman and C. Harvick
regarding changes to the same (.40);
telephone conference with C. Harvick and M.
Levinson regarding provisions of plan dealing
with post-reorganization access by Diversified
Fund to records and equipment and related
matters (.50); preparation of revised language
to include within plan of reorganization
addressing such issues (.70); review and
analysis of changes to the same made by M.
Levinson (.20); transmit revised language to
debtor counsel for inclusion within the plan of
reorganization (.10); participation in exchange
of email correspondence with debtor
professionals and Diversified Committee
professionals regarding the same (.20).
Case 06-10725-gwz__ Doc 3603-3 Entered 04/26/07 16:96:53 Page 44 of 74

O

ORRICK

Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 43

11/13/06 M. Levinson Travel to Las Vegas for the hearing on the 8.40 4,704.00

disclosure statement and continue preparing
for the same en route (2.50); conferences prior
to the hearing with a number of professionals
including A. Jarvis, J. Gordon and C. Harvick
(.40); attend the disclosure statement hearing
(2.70); portion of telephone conversation with
M. Tucker devoted to plan and disclosure
statement issues and to the possible. mediation
with the USACM Committee over the
remaining plan issues (.20); travel from Las
Vegas to Sacramento (2.50); exchange of end-
of-the-day email memoranda with L. Ernce
and J. Hermann re next steps in review of the
next drafts of the plan and disclosure
statement (.10).

11/13/06 J. Hermann Participation by telephone in portion of 1.80 1,026.00
hearing on disclosure statement and other
matters on calendar (.80 - billed at half time);
review and analysis of proposed changes to
disclosure statement as a result of such hearing
(.30); review and analysis of notice of sale
and order on the auction of assets (.20);
review and analysis of proposed order
approving disclosure statement (.20); review
and analysis of email from all hands providing
changes to the same (.30).

11/14/06 | E. Lefever Telephone conference with M. Levinson re 0.30 145.50
background and amending the Diversified
Fund operating agreement.

11/14/06 M. Levinson Begin reviewing changed provisions of the 5.60: 3,136.00
draft of the disclosure statement emailed by S.
Strong to all estate professionals late last night
(.60); telephone conversation with J. Hermann
re the disclosure statement and the plan and
related matters (.50); email memorandum to
M. Tucker with questions about a portion of
the disclosure statement (.10); telephone
conversation with R. Charles re plan matters
(.20) telephone conversation with M. Tucker
re the disclosure statement, with J. Hermann
for part (.30); review email memoranda from
C. Carlyon, S. Smith, R. Charles and others re
the draft hypotheticals in last night's draft of
the disclosure statement (.20); telephone
conversation with S. Strong, E. Monson, M.
Tucker and J. Hermann re various parts of the
disclosure statement, with C. Harvick for part
Case 06-10725-gwz__ Doc 3603-3 Entered 04/26/07 16:56:53 Page 45 of 74

O

ORRICK

Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512 |
page 44

(.60); telephone conversation with C. Harvick,
M. Tucker and J. Hermann re disclosure
statement and re the plan matters (.20);
telephone conversation with L. Lefever re
background and the Diversified Fund
operating agreement (.30); review portions of
the disclosure statement relating to the
USACM/Direct Lender compromises (.30);
exchange email memoranda with M. Tucker re
the same and with E. Monson re correcting an
error in the same (.10); review a series of
email memoranda from A. Jarvis, S. Smith, G.
Garman and R. Charles re treatment in the
plan of the remaining $2.6 million in the
collection account received prior to the
petition (.20); review the form of USACM
Committee recommendation letter and
exchange follow-up email memoranda with L.
Ernce and A. Loraditch re the same (.20);
review tonight's versions of the plan and
disclosure statement, send email memoranda
to all hands re comments on the same,
exchange a number of email memoranda with
J. Hermann, M. Tucker and C. Harvick re the
same and review numerous email memoranda
from other counsel in the case including P.
Hunt, S. Strong, C. Pajak and E. Karasik re
their comments on the two documents (1.80).
11/14/06 L. Ernce Review A. Loraditch comments to draft 1.10 511.50
committee support letter (.10); further revise
draft Diversified Committee support letter
(.30); exchange emails and telephone
conferences with A. Loraditch re further
changes to same (.20); review and comment
upon next version of draft letter in email to A.
Loraditch (.20); review Silver Point's proposed
edits to disclosure statement (.20); review
emails from M. Levinson re status of
Diversified Fund's comments to same (.10)
Case 06-10725-gwz__ Doc 3603-3 Entered 04/26/07 16:56:53 Page 46 of 74

O

ORRICK

Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 45

11/14/06 J. Hermann Review and analysis of revised plan of 6.10 3,477.00
reorganization and revised disclosure
statement circulated by S. Strong, as well as
prior draft of disclosure statement (2.90);
telephone conference with E. Monson, S.

Strong, C. Harvick, M. Tucker and M.
Levinson regarding USACM as LLC manager
of Diversified Fund, and resulting claim
against USACM and numerous related matters
related to the same and disclosures to be
included within disclosure statement (.60);
preparation of addition to disclosure statement
dealing with $20 million claim (.50);
telephone conference with M. Tucker, C.
Harvick and M. Levinson regarding disclosure
statement issues, including USACM/Direct
Lender compromises on prepetition LSA fees
and prepaid interest and need to clarify that
Diversified Fund has not agreed to the same
(.20); review and analysis of portions of plan
of reorganization and disclosure statement
bearing upon the same (.30); review and
analysis of further draft of plan of
reorganization and disclosure statement (1.40);
participation in exchange of email
correspondence regarding the same with
Diversified Committee professionals (.20).

11/14/06 L. Ernce Review Diversified Committee support letter 0.10 46.50
from USACM and M. Levinson email re
same.

11/14/06 L. Ernce Telephone conference with R. Worthen re 0.50 232.50
finalizing Diversified Committee support letter
for joint plan (.20); revise and finalize letter
(.20) and email to S. Strong for inclusion in
voting package (.10).

11/14/06 -L. Ernce Review First Trust clean-up changes to latest 0.80 372.00
version of disclosure statement (.30); review
multiple exchanges of emails among debtors
and committee counsel re further changes to
disclosure statement and review next versions
(.50). ,
Case 06-10725-gwz__ Doc 3603-3 Entered 04/26/07 16:56:53 Page 47 of 74

O

ORRICK

Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 46

11/15/06 M. Levinson Review the proposed order approving the 0.90 504.00
disclosure statement, the ballots, etc. and
email memorandum to all hands with my
comments thereon (.40); exchange a series of
numerous follow-up email memoranda with S.
Strong, R. Charles, G. Gordon, A. Landis and
others re the form of order (.30); review the
lengthy S. Freeman email memorandum to
candidates for the USACM Trustee position
and review her follow-up email memorandum
to estate professionals re the same and the
selection process (.20).
11/16/06 E. Lefever Conference with M. Levinson regarding 0.50 242.50
background relating to amending the operating
agreement.
11/16/06 M. Levinson Telephone conversation with L. Lefever re 1.40 784.00
background facts and re the needed revisions
to the Diversified Fund operating agreement
(.50); review key documents and pleadings
and email a number of them to E. Lefever in
three separate emails (.30); telephone
conversation with G. Berman re service as
trustee of the USACM Trust (.10); review S.
Freeman email memoranda re the selection of
the USACM liquidation trust and analysis re
selection of the DIDF Administrator (.10);
portion of long telephone conversation with
M. Tucker devoted to discussing the role and
selection of the DIDF Administrator (.40).
11/16/06 J. Hermann Telephone conference with M. Levinson 0.10 57.00
regarding need for selection of CEO of Post-
Effective Date DTDF.
11/17/06 M. Levinson Telephone conversation with L. Hill, a 1.20 672.00
candidate to be the DIDF Administrator (.30);
portion of long telephone conversation with J.
Hermann devoted to the DIDF Administrator
(.20); lengthy email memorandum to L. Hill re
case and plan background (.20); exchange
email memoranda with S. Freeman re the
process for selecting the USACM Trustee and
send a follow-up email memorandum to M.
Tucker, C. Harvick and J. Hermann re the
same (.20); exchange a series of follow-up
email memoranda with J. Hermann re the
same (.10); further analysis re corporate
governance issues of Post-Effective Date
DTDF (20).
Case 06-10725-gwz_ Doc 3603-3 Entered 04/26/07 16:56:53 Page 48 of 74
Case 06-10725-gwz_ Doc 3603-3 Entered 04/26/07 16:56:53 Page 49 of 74

O

ORRICK

Official Committee of Equity Security Holders of USA Capital Diversified

Trust Deed Fund, LLC - 17908
page 47

11/17/06 J. Hermann

11/18/06 M. Levinson

11/19/06 E. Lefever

11/19/06 ™M. Levinson

11/20/06 E. Lefever
11/20/06 M. Levinson

11/20/06 L. Ernce

11/21/06 G. Bolding

December 29, 2006

Invoice No. 1047512

Telephone conference with potential candidate 1.80
for CEO position with reorganized Diversified

Fund regarding background information and

duties (.80); preparation of materials for all
Diversified Fund CEO candidates to review

(.60); consideration and analysis of

governance of reorganized Diversified Fund

for purposes of revised operating agreement

(40).

Review R. Charles email memorandum re a 0.20
candidate for the USACM trustee job, email
memorandum to the Diversified Committee
professionals re the same and exchange

follow-up email memoranda with B. Olson

and J. Hermann re the same.

Review summary statement of treatment of — 2.30
creditors, disclosure statement and the existing
Diversified Fund operating agreement.

Exchange of email memoranda with M. 0.10
Tucker re the upcoming interviews of

candidates to be the USACM Trustee and

review C. Harvick email memorandum re a

candidate for the USACM Trustee position.

Review plan of reorganization. 1.20
Email memorandum to R. Charles re a 1.60
candidate for the USACM liquidating trustee

position (.10); initial review of the resumes of

the various candidates for the USACM

liquidating trustee position (.30); email

memorandum to the Diversified Fund

professionals re the USACM liquidating

trustee candidate (.10); review and analyze the

lengthy email memorandum from D.

Cangelosi to unspecified investors urging

rejection of the plan (.70); initial review of

lengthy E. Lefever email memorandum raising

a number of questions and issues relating to

the amended Diversified Fund operating

agreement she is drafting (.20); further

analysis re corporate governance of the Post-

Effective Date DTDF (.20).

Review long email from D. Cangelosi 0.20
forwarded by R. Worthen calling upon

investors to join forces and oppose the plan.

Discussion with L. Lefever regarding revising 1.00

the operating agreement; initial review of
operating agreement.

1,026.00

112.00

1,115.50

56.00

582.00
896.00

93.00 |

665.00
Case 06-10725-gwz_ Doc 3603-3 Entered 04/26/07 16:56:53 Page 50 of 74

O

ORRICK
Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 48
11/21/06 E. Lefever Conference with M. Levinson regarding 1.00 485.00
operating agreement (.40); further review of
the plan (.60).
11/21/06 K. Thomas Conference with M. Levinson re the D. 5.10 1,912.50

Cangelosi letter to investors urging a vote
against the plan and related background facts
(.20); research disclosure statement and other
issues relating to such letter (2.60); conference
with M. Levinson re the results of my research
(.30); further research on disclosure statement
based on conversation with M. Levinson
(1.00); conference with M. Levinson re the
results of research (.10); participate in
conference call among estate professionals re
the same (.80); follow-up discussion with M.
Levinson re reviewing drafts of motion to be
circulated in response to the D. Cangelosi
letter (.10).
Case 06-10725-gwz~ Doc 3603-3 Entered 04/26/07 16:56:53 Page 51 of 74

O

ORRICK

Official Committee of Equity Security. Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 49

11/21/06 M. Levinson Further review of last night's D. Cangelosi = = 4.30 2,408.00

email memorandum and forward the same to

-all estate professionals under cover of an email
memorandum (.40); exchange follow-up email
memoranda with E. Karasik re the same (.10);
review follow-up email memoranda from
many estate professionals including R.
Charles, S. Strong, G. Garman, S. Freeman
and others (.20); in light of the D. Cangelosi
email memorandum, conference with K.
Thomas re research project relating to
disclosure statements and communications to
creditors and equity holders (.20); telephone
conversation with E. Karasik re the D.
Cangelosi email memorandum (.20);
telephone conversation with G. Gordon re the
same (.20); exchange email memoranda with
J. Hermann re the same (.10); long telephone
conversation with E. Lefever re the form of
operating agreement (.50); review E. Lefever
follow-up email memorandum containing a
few questions and forward the same, after
revising it, to M. Tucker and C. Harvick (.20);
review K. Thomas memorandum re disclosure
issues (.30); conference with K. Thomas re the
same and re next steps (.20); follow-up
conference with K. Thomas re the disclosure
issues (.20); all-hands conference call among
committee professionals re the Cangelosi/Uhl
letter (.80); long telephone conversation with
M. Tucker and J Hermann re the same (.30);
follow-up email memorandum to E. Lefever re
additional issues relating to the draft operating
agreement (.10); telephone conversation with
L. Hill re the DTDF Administrator position
(.30).
Case 06-10725-gwz.. Doc 3603-3 Entered 04/26/07 16:56:53 Page 52 of 74

O

ORRICK
Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 50

~ 11/21/06 J. Hermann Participation in conference call with debtor 1.90 1,083.00

and committee professionals regarding
response to solicitation to vote against plan of
reorganization and pleadings to be filed
tomorrow addressing the same and to be heard

_ next Tuesday (.80); telephone conference with
M. Tucker and M. Levinson regarding process
for selection of CEO of Post-Effective Date
DTDF, and other plan related issues (.30);
telephone conference with candidate for Post-
Effective Date DIDF CEO regarding
responsibilities of position, composition of
loan portfolio, challenges of collection of
strange loans in the portfolio and related
matters (.80).

11/22/06 G. Bolding Review and respond to emails regarding use of 0.70 465.50
. the LLC format; further review of the existing
operating agreement.
11/22/06 K. Thomas Send email from M. Levinson re draft motion 0.40 150.00

in response to the D. Cangelosi to Call to
Action Letter, and review response to same
(.10); review draft motion for legal analysis
and send summary of same to M. Levinson °

(.30).
11/22/06 E. Lefever Draft amended operating agreement. 4.40 2,134.00
11/22/06 J. Hermann Review and analysis of additional solicitation 2.60 1,482.00

of votes against plan of reorganization (.20);
review and revision of multiple versions of
proposed form of supplemental disclosure
(1.20); participation in exchange of email
correspondence with all committee
professionals and debtor professionals
regarding the same and issues in connection
with filing of motion seeking approval of the
same (.50); telephone conference with M.
Tucker and M. Levinson regarding issues in
connection with additional disclosure and
potential impact of the same upon future
litigation efforts (.30); review and revision of
form of motion seeking authorization for
additional disclosure (.30); review and
analysis of final form of such pleadings (.10).
Case 06-10725-gwz Doc 3603-3 Entered 04/26/07 16:56:53 Page 53 of 74

O

ORRICK
\
Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 51
11/22/06 J. Hermann Telephone conference with D. Hickey 1.80 1,026.00

regarding plan implementation issues and
selection of CEO candidate for Post-Effective
Date DTDF (.20); participation in conference
call with L. Hill, D. Hickey and M. Levinson
regarding assets in portfolio, challenges in
collecting loans and otherwise implementing
plan of reorganization, and numerous related
matters all in connection with task of selection
of post-effective date CEO (1.20); further
telephone conference with Mr. Castine

regarding such issues and related matters (.40).

11/22/06 M. Levinson Review of the D. Cangelosi follow-up email 7.50 4,200.00
memorandum to various lenders, investors and
professionals sent late last night (.40); email
memorandum to estate professionals re the
same (.20); review the draft response to the
first D. Cangelosi email memorandum
prepared and circulated by E. Karasik last
night (.50); review the revised draft prepared
by G. Gordon (.30); telephone conversation
with C. Pajak re the foregoing (.10); redraft.
the draft bullet points response prepared by E.
Karasik (1.60); review a series of J. Hermann
and M. Tucker email memoranda re the
various drafts (.20); telephone conversation
with C. Carlyon re the drafts (.10); review R.
Charles and C. Carlyon suggested versions to
the same (.30); exchange further emails with J.
Hermann and M. Tucker (.10); telephone
conversation with J. Hermann and M. Tucker
(.30); further review of the R. Charles draft,
and draft an insert to the same (.20); review
_the next draft sent by C. Pajak (.50); email to

all professionals re the same and exchange a
number of follow-up email memoranda with
them (.40) very long telephone conversation
with potential DIDF Administrators L. Hill
and D. Hickey with J. Hermann (1.20); review
next draft of the motion and the C. Carlyon
proposed changes thereto (.40); email
memorandum to all hands with my comments
thereto (.20); telephone conversation with A.
Parlen re my comments to the draft bullet
points (.10); telephone conversation with H.
Grobstein, candidate to be the USACM
Trustee (.30); telephone conversation with M.
Tucker re the same (.20).
Case 06-10725-gwz__ Doc 3603-3 Entered 04/26/07 16:26:53 Page 54 of 74

O

ORRICK

Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 52

11/22/06 J. Hermann Telephone conference with D. Hickey 1.40 798.00

regarding his preliminary questions as to CEO
position (.20); participation in long
conference call with M. Levinson, D. Hickey
and L. Hill, prospective CEO candidates,
regarding background facts, status of loan
portfolio and numerous related issues (1.20).
11/24/06 M. Levinson Review lengthy R. Charles email 0.30 168.00
memorandum re the draft liquidating trust for
USACM (.20); review the lengthy L. Hill
email memorandum re the qualifications of
‘Hickey & Hill to be the DTDF Administrator
(.10).
11/26/06 G. Bolding Initial review of amended operating agreement 0.70 465.50
from L. Lefever (.60); review and respond to
email from L. Lefever (.10).
11/26/06 E. Lefever Continue drafting revised operating agreement 3.20 1,552.00
(2.50); review member K-1s and top line fund
information (.70).
11/26/06 M. Levinson Lengthy email memorandum to J. Hermann re 0.70 392.00
the qualifications materials provided by
Hickey & Hill (.20); portion of long telephone
conversation with J. Hermann devoted to plan
and post-confirmation issues, including
selecting the USACM Trustee and the DIDF
Administrator (.30); review E. Lefever email
memorandum re the draft operating agreement
and respond via email (.10); review the R.
Castine email memorandum re his
qualifications to serve as the DTDF
Administrator (.10).
11/27/06 G. Bolding Brief meeting with L. Lefever regarding 2.70 1,795.50
allocations, distributions and amended LLC
Agreement (.10); further review of revised
draft operating agreement and proposed
amendments (1.20); review additional
documents from L. Lefever in connection with
the same (1.40).
11/27/06 E. Lefever . Draft and revise operating agreement (1.80); 2.90 1,406.50
office conferences thereon with G. Bolding
(.40); phone conferences thereon with M.
Levinson (.40); phone conference regarding
company financials with Mr. Harvick (.30).
Case 06-10725-gwz_ Doc 3603-3 Entered 04/26/07 16:36:53 Page 55 of 74

O

ORRICK
Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 53
11/27/06 J. Hermann Review and analysis of opposition filed by D. 0.60 342.00
Cangelosi to request for supplemental
disclosure (.40); review and analysis of prior
pleadings in connection with the same and in
preparation for tomorrow's hearing on the
same (.20).
11/27/06 M. Levinson Further review of the resumes, statement of 3.00 1,680.00

qualifications, etc., of candidates for the
DTDF Administrator position, including those
of M. Carmel, R. Castine, L. Hill and M.
Tucker (.30); exchange a series of email
memoranda with M. Tucker re the same (.10);
exchange email memoranda with R. Castine
(.10); begin reviewing the draft revised
operating agreement (.60); telephone
conversation with L. Lefever re the same
(.20); telephone conversation with M. Tucker
re plan issues (.20); continue reviewing the
draft revised operating agreement (.40);
telephone conversation with L. Lefever re
aspects thereof and re her conversations with
C. Harvick and with tax partner G. Bolding re
tax issues (.30); revise the WHEREAS clause
portion and email to L. Lefever (.30); separate
email memorandum to each of the four
candidates about the upcoming interviews in
Las Vegas (.20); telephone conversation with
J. Hermann re selection of the USACM
Trustee and re the A. Smith reply brief filed on
behalf of D. Cangelosi (.30).
11/27/06 J. Hermann Telephone conference with R. Castine 0.60 342.00
. regarding his candidacy to be CEO and his
many questions regarding duties and assets of
Diversified Fund (.50); telephone conference
with M. Levinson regarding upcoming
committee meeting and selection process

(.10).

11/27/06 L. Ernce Review emails and resume materials for 0.50 232.50
candidates for Diversified Administrator.

11/28/06 G. Bolding Review revised agreement from L. Lefever; 0.80 532.00
prepare revisions to same.

11/28/06 E. Lefever Revise operating agreement per discussions 3.40 1,649.00

during 11-27-06 committee meeting and
distribute same internally (2.20); telephone
conference with M. Levinson regarding
comments to operating agreement and revise
same in accordance therewith (1.20).
Case 06-10725-gwz_ Doc 3603-3 Entered 04/26/07 16:36:53 Page 56 of 74

O

ORRICK

Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 54

11/28/06 J. Hermann Further review and analysis of pleadings 2.40 1,368.00

bearing upon today's hearing on motion
seeking supplemental disclosure (.40);
participation in Bankruptcy Court hearing on
the same (1.30); participation in exchange of
email correspondence regarding the same with
Diversified Committee professionals (.20);
telephone conference with Diversified
Committee professionals regarding results of
hearing and likely next steps of D. Cangelosi
to seek to oppose plan of reorganization (.30);
review and analysis of proposed order (.20).
11/28/06 M. Levinson Carefully review and interlineate commentsto 4.60 2,576.00

the draft operating agreement (2.80); email
memorandum to L. Lefever re the same (.10);
long telephone conversation with L. Hill re
case background and re the DIDF
Administrator position (.50); long telephone
conversation with M. Carmel re case

_ background and re the DIDF Administrator
position (.40); long telephone conversation
with E. Lefever re my comments (.40); follow-
up email memorandum to M. Carmel (.10);
portion of long telephone conversation with J.
Hermann devoted to plan issues, including the
selection of the DIDF Administrator and
today's hearing on the four committees'
proposed supplemental disclosure (.30).

11/29/06 G. Bolding Review and prepare revisions to revised 0.70 465.50
operating agreement.

11/29/06 E. Lefever Revise amended operating agreement and 2.20 1,067.00
distribute internally.

11/29/06 M. Levinson ' Portion of long telephone conversation with 0.70 392.00

M. Tucker devoted to plan, DTDF
Administrator and related issues (.20);
exchange of email memoranda with G.
Berman, one of the candidates for the USACM
Trustee position (.10); portion of a telephone
conversation with J. Hermann and A.
Loraditch devoted to plan issues (.10);
telephone conversation with R. Charles re the
selection of the USACM Trustee (.10);
telephone conversation with J. Hermann re the
same (.10); follow-up email memorandum to
M. Tucker (.10).
Case 06-10725-gwz_ Doc 3603-3 Entered 04/26/07 16:26:53 Page 57 of 74

O

ORRICK

Official Committee of Equity Security Holders of USA Capital Diversified
Trust Deed Fund, LLC - 17908
page 55

11/30/06 L. Ernce Review debtors’ notice of executory contracts
and unexpired leases and direct lender
supplement (.10); emails to Diversified
Committee professionals re same (.10).

11/30/06 G. Bolding Review of new version of operating agreement
in preparation for meeting with L. Lefever
(.70); meeting with L. Lefever regarding the
same (.30); review new draft of the agreement
pursuant to meeting (.80).

11/30/06 E. Lefever Conference with G. Bolding re the revised
draft (.30); telephone conversation with C.
Harvick re the. draft (.20); revise and distribute
operating agreement (1.10).

11/30/06 J. Hermann Telephone conference with M. Tucker, M.
Levinson and M. Carmel (portion) regarding
USACM committee selection of USACM trust
administrator and related matters.

11/30/06 M. Levinson Telephone conversation with M. Carmel re the
Diversified Committee's selection of the
DTDF Administrator (.10); portion of long
conference call re next steps with S. Strong, A.
Jarvis, E. Monson, M. Tucker and J. Hermann
devoted to plan issues (.10); exchange a series
of email memoranda with J. Reed, R. Charles,
M. Kvarda, F. Merola, M. Tucker and others
re a suggested December 6th meeting prior to
the December 7th auction (.20); telephone
conversation with M. Tucker and J. Hermann
re the December 6th meeting, re the USACM
trustee selection process and re other plan
matters, with M. Carmet for part (.70);
telephone conversation with J. Sullivan, a
representative of a potential purchaser of
Diversified Fund assets (.20); telephone
conversation with M. Tucker re the same
(.10); review the lengthy late-night email
memorandum from A. Jarvis re the Silver
Point positions on overbids, the auction and
related matters and analysis re next steps in
light of the same (.20).

December 29, 2006
Invoice No. 1047512

0.20 93.00
1.80 1,197.00
1.60 776.00
100 — 570.00
1.60 896.00

B320 — Plan and Disclosure Statement (including Business Plan) Total 196.20 106,371.00
Case 06-10725-gwz_ Doc 3603-3 Entered 04/26/07 16:56:53 Page 58 of 74

O

ORRICK
Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 56
Timekeeper Summary Hours Rate Amount
Grady M. Bolding 8.40 665.00 5,586.00
Lynn T. Ernce 23.50 465.00 10,927.50
Jeffery D. Hermann 59.20 570.00 33,744.00
Elizabeth Harris Lefever 23.00 485.00 11,155.00
Marc A. Levinson 76.60 560.00 42,896.00
Katherine S. Thomas 5.50 375.00 2,062.50

Total All Timekeepers 196.20 $542.16 $106,371.00
Case 06-10725-gwz_. Doc 3603-3 . Entered 04/26/07 16:56:53 Page 59 of 74

O

ORRICK

Official Committee of Equity Security Holders of USA Capital Diversified - December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 57

Task B503 — Litigation

11/06/06 L. Ernce Review emails from M. Levinson and A. 0.10 46.50
Loraditch re 2004 examination of USA
Real Estate and related issues.
11/08/06 J. Hermann Review and analysis of materials on USA 1.00 570.00
Commercial Real Estate Group in
connection with tomorrow's 2004
examination of J. Milanowski (.30);
telephone conferences with A. Loraditch
and C. Harvick regarding questions to be
asked at such 2004 examination and
related matters (.40); telephone conference
with M. Levinson regarding issues in
connection with the same (.10); review
and analysis of further email from C.
Harvick and attached documentation
providing areas of inquiry for tomorrow's
2004 examination (.20). .
11/09/06 J. Hermann Review and analysis of motion to file 0.20 114.00
under seal from J. Milanowski's counsel
(.10); participation in exchange of email
correspondence with debtor professionals
and Diversified Committee professionals
regarding the same (.10).
11/09/06 L. Emce Review notice re motion for protective 0.20 93.00
order filed by J. Milanowski and emails to
Diversified Committee professionals re
same (.10); telephone conference with M.
Levinson re same (.10).
11/10/06 J. Hermann Telephone conference with A. Loraditch 0.80 456.00
and M. Levinson (portion) regarding
results of 2004 examination of J.
Milanowski yesterday and numerous
related issues (.60); telephone conference
with C. Harvick regarding Great White
lawsuit, request for assistance in
establishing lis pendens against Royal
Hotel and related issues (.20).

Case 06-10725-gwz_ Doc 3603-3 Entered 04/26/07 16:56:53 Page 60 of 74

O

ORRICK
Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 58
11/14/06 J. Hermann Review and analysis of pleadings and 0.90 513.00
docket sheets for state court litigation
involving Royal Hotel in connection with
Great White Investments requests that
Diversified Committee provide assistance
(.70); participation in exchange of email
correspondence with Diversified —
Committee professionals regarding the
same (.20).
11/14/06 M. Levinson Review email memoranda re the Great 0.30 168.00
White lis pendens litigation (.20); email
memorandum to A. Jarvis re the same
(.10).
11/15/06 =L. Ernce Review order denying J. Milanowski's 0.10 46,50

motion to seal and email to Diversified
professionals re same.
11/21/06 L. Ernce Review notice of protective order motion 0.30 139.50
filed by J. Milanowski and emails to
Diversified Committee professionals re
same (.10); review A. Loraditch email and
protective order pleadings (.20).
11/22/06 M. Levinson Review a series of E. Monson, R. Charles 0.20 112.00
and J. Hermann email memoranda re 2004
examinations of Investment Partners and
J. Milanowski.
11/22/06. J. Hermann Participation in exchange of email 0.90 513.00
correspondence with E. Monson and
committee professionals regarding 2004
examination of USA Investment Partners
and arrangements relating to the same
(.20); review and analysis of motion for
protective order filed on behalf of USA
Investment Partners (.30); formulation of
potential response to the same (.20);
review and analysis of file materials in
connection with the same (.20).
11/28/06 ‘J. Hermann Review and analysis of proposed 2004 0.50 285.00
requests of debtors directed to Investment
Partners and related entities and categories
of documents included within requests
(.30); participation in exchange of email
correspondence with Debtor counsel
regarding questions as to whether research
had been done on preclusive effect of
committees joining in such requests (.20).
Case 06-10725-gwz_. Doc 3603-3 Entered 04/26/07 16:56:53 Page 61 of 74

O

ORRICK

Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 59

11/29/06 J. Hermann Consideration and analysis of issues 0.50 285.00

regarding whether to include Diversified
Committee as moving parties in 2004
examinations to be scheduled by Debtors
(.20);. review and analysis of proposed
2004 requests (.20); participation in
exchange of email correspondence with E.
Monson regarding the same (.10).
11/29/06 M. Levinson Review E. Monson, J. Hermann, R. 0.30 168.00
Charles, E. Karasik and other email
memoranda re the upcoming Rule 2004
examinations and telephone conversation
with J. Hermann re next steps with respect

to the same.
B503 — Litigation Total 6.30 3,509.50
Timekeeper Summary Hours Rate Amount
Lynn T. Ernce 0.70 465.00 325.50
Jeffery D. Hermann 4.80 570.00 — 2,736.00
Marc A. Levinson 0.80 560.00 448.00

Total All Timekeepers 6.30 $557.06 $3,509.50
Case 06-10725-gwz— Doc 3603-3 Entered 04/26/07 16:56:53 Page 62 of 74

O

ORRICK

Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908: Invoice No. 1047512
page 60

Task B504 — EPIC Loan

11/07/06 = J. Hermann Initial review and analysis of new sales 0.50 285.00
agreement for sale of Marquis Villas
condominiums (.30); participation in
exchange of email correspondence with
Diversified Committee professionals
regarding the essential terms of the same
and issues arising as a result of the same

(.20).
11/09/06 M. Levinson Review A. Jarvis email memorandum re 0.10 56.00
next steps with respect to the Epic
obligation.
11/15/06 M. Levinson Portion of long telephone conversation 0.30 168.00

with C. Harvick and J. Hermann devoted
to collecting the Epic loan (.20); portion of
long telephone conversation with A.
Jarvis, T. Allison, R. Koe, M. Tucker, C.
Harvick and J. Hermann re the foregoing
and re next steps (.10).
11/15/06 J. Hermann Portion of telephone conference with C. 0.30 171.00
. Harvick and M. Levinson dealing with
strategy for ensuring that sale of Epic
related Marquis Villas condominiums
does not close without receiving assurance
of payment to Diversified Fund and
related issues.
11/28/06 J. Hermann Review and analysis of transaction _ 1.70 969.00
documents and litigation documents
bearing upon Epic loan in connection with
questions posed by SEC and request for
further information from SEC.
11/29/06 J. Hermann Participation in exchange of email 0.50 285.00
correspondence with Diversified
Committee professionals regarding utility
of commencing bankruptcy case for Tree
Moss in addition to USA Investors VI and
related matters (.30); participation in
exchange of emai! correspondence with T.
Allison and debtor professionals regarding
the same (.20).
Case 06-10725-gwz— Doc 3603-3 Entered 04/26/07 16:56:53

O

ORRICK

Official Committee of Equity Security Holders of USA Capital Diversified
Trust Deed Fund, LLC - 17908

page 61

M. Levinson

11/30/06 Portion of very long conference call re

next steps with S. Strong, A. Jarvis, E.
Monson, M. Tucker and J. Hermann
devoted to next steps with respect to
collecting the Epic obligation (.10);
portion of follow-up conversation with J.
Hermann and M. Tucker (.10).

B504 — EPIC Loan Total

Timekeeper Summary Hours Rate Amount
Jeffery D. Hermann 3.00 570.00 1,710.00
Marc A. Levinson 0.60 560.00 336.00

Total All Timekeepers 3.60 $568.33 $2,046.00

Page 63 of 74

December 29, 2006
Invoice No. 1047512

0.20 112.00

3.60 2,046.00
Case 06-10725-gwz—.Doc 3603-3 Entered 04/26/07 16:56:53 Page 64 of 74

O

ORRICK

Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 62 ,

Task B505 — 10-90 Loan

11/01/06 M. Levinson Review and analyze lengthy A. Jarvis email 0.40 224.00
memorandum to R. Walker and D. Griffiths
re the draft plan, possible settlement with
Investment Partners and the possible sale of
the Hotel Zoso and the Royal Hotel (.20);
review R. Walker, A. Jarvis, M. Tucker and
J. Hermann email memoranda re the
proposed escrow instructions for the Hotel
Zoso (.20).
11/01/06 J. Hermann Review and analysis of revised versions of 0.70 399.00
collateral documents sent to counsel for
Investment Partners to be executed by J.
Milanowski (.50); participation in exchange
of email correspondence with Debtor
counsel and Diversified Committee
professionals regarding the unacceptability
of the changes made by R. Walker and
related matters (.20).
11/02/06 M. Levinson Exchange a series of email memoranda 0.10 56.00
with A. Jarvis re next steps with respect to
the Investment Partners loan.
11/03/06 M. Levinson Conference with A. Jarvis and J. Hermann 0.20 112.00
re the latest J. Milanowski and Investment
Partners developments and re next steps.
11/03/06 J. Hermann Conference with A. Jarvis and M. Levinson 0.50 285.00
regarding Investment Partners
developments and issues (.20); further
review and analysis of revised agreements
received from R. Walker (.30).
11/06/06 M. Levinson Portion of telephone conversation with M. 0.50 280.00
- Tucker during which we discuss issues
relating to the realization on the Ashby
assets, with C. Harvick for part (.30);
review C. Harvick email memorandum to
P. McNicholas re requesting Ashby-related
documents and data, and review the P.
MeNicholas reply email memoranda under
cover of which he forwards documents and
data (.10); review M. Tucker email
memorandum commenting on the
Stoneridge data (.10).

Case 06-10725-gwz__ Doc 3603-3 Entered 04/26/07 16:56:53 Page 65 of 74

O

ORRICK

Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 63 .

11/06/06 J. Hermann Review and analysis of financial 0.90 513.00

information regarding Stoneridge
development supporting 10-90, Inc. loan
(.40); review and analysis of other Ashby-
related documents to determine profit
percentage of Investment Partners in
Stoneridge project (.50).

11/07/06 M. Levinson Portion of telephone conversation with M. 0.40 224.00
Tucker and C. Harvick devoted to the
documentation provided yesterday by P.
MeNicholas and re next steps in light of the
same (.20); review J. Hermann email
memorandum re the possible sale of the
Marquis Villas, the M. Tucker response
thereto and several follow-up email
memoranda (.20).

11/09/06 M. Levinson Participate in a chain of email memoranda 0.40 224.00
with C. Harvick and J. Hermann re the
Investment Partners loans and re
scheduling a meeting or conference call
with T: Allison and A. Jarvis re the same
(.20); initial review of the motion by
Investment Partners and J. Milanowski to
file a motion for protective order under seal
and review L. Ernce email memorandum re
the same (.20).

11/10/06 J. Hermann Portion of telephone conference with A. 0.90 513.00
Jarvis, C. Harvick, J. Atkinson, M.
Levinson and M. Haftl regarding 2004
examinations of numerous entities and
individuals, litigation alternatives with

_respect to Investment Partners and
numerous related matters (.50); review and
analysis of listing of 2004 notice candidates
prepared by C. Harvick (.20); telephone
conference with C. Harvick and M.
Levinson regarding 2004 examinations to
be noticed and related matters (.20).

11/10/06 M. Levinson Telephone conversation with A. Loraditch 0.70 392.00
and J. Hermann re yesterday's 2004
examination of J. Milanowski (.20); portion
of long telephone conversation with A.
Jarvis, J. Fasel, M. Haftl, C. Harvick and J.
Hermann devoted to Investment Partners
status and issues (.40); portion of follow-up
telephone conversation with C. Harvick and
J. Hermann devoted to the same (.10).
Case 06-10725-gwz__ Doc 3603-3 Entered 04/26/07 16:56:53 Page 66 of 74

O

ORRICK

Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 64

11/13/06 M. Levinson Portion of telephone conversation with M. 1.60 896.00

Tucker devoted to Investment Partners
issues (.20); meeting with A. Jarvis, E.
Monson, C. Harvick and B. Olson, with S.
Call by telephone for part, re Investment
Partners strategic and planning issues
(1.20); review a memorandum by Beckley
re a legal issue relating to strategies
impacting Investment Partners and brief __
conference with B. Olson re the same (.20).

11/13/06 J. Hermann Telephone conference with M. Levinson 0.80 456.00
regarding discussions on possible
receivership and other issues dealing with
Investment Partners and his meetings today
regarding the same (.30); review and
analysis of materials bearing upon status of
LLC member interests in the event of
receivership in connection with the same
(.50).

11/14/06 M. Levinson Telephone conversation with J. Hermann re 0.30 168.00
the SEC investigation (.20); review S.
Pugsley and A. Jarvis email memoranda re
SEC-related issues (.10).

11/14/06 J. Hermann Telephone conference with M. Levinson 0.30 171.00
regarding issues in connection with SEC
investigation and related matters (.20);
participation in exchange of email
correspondence with debtor professionals
regarding SEC investigation (.10).

11/15/06 M. Levinson Email memorandum to A. Loraditch and B. 0.70 392.00
Olson requesting her help on a procedural
issue relating to collecting the IP loan (.10);
review separate responses by A. Loraditch
and B. Olson (.10); portion of long
telephone conversation with C. Harvick and
J. Hermann devoted to collecting the IP
loan (.20); portion of long telephone
conversation with A. Jarvis, T. Allison, R.
Koe, M. Tucker, C. Harvick and J.
Hermann re the foregoing and re next steps
(.30).
Case 06-10725-gwz__ Doc 3603-3 Entered 04/26/07 16:56:53 Page 67 of 74

O

ORRICK
Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 65 ,
11/15/06 | J. Hermann Portion of call with C. Harvick and M. 0.50 285.00
Levinson regarding manner of calculation
of interest on 10-90, Inc. loan and related
matters (.10); review and analysis of
transaction documents in connection with
the same (.30); participation in exchange
of email correspondence with Diversified
Committee professionals regarding the
same (.10).
-11/16/06 M. Levinson Portion of long telephone conversation with 4.20 2,352.00

T. Allison, J. Atkinson, K. Glade, R. Koe,
M. Tucker, C. Harvick, A. Loraditch, J.
Hermann and others re collection on
Investment Partners (.60); review lengthy
email memorandum from J. Hermann re
next steps (.20); long telephone
conversation with S. Strong, J. Hermann
and C. Harvick re the same, with S. Tingey

_ for part and E. Monson for part (.80);
follow-up conversation with J. Hermann
and C. Harvick (.20); draft and revise a
lengthy follow-up email memorandum to S.
Tingey and other of the debtors’
professionals after re-reviewing the lengthy
J. Hermann email memorandum of this
morning (.40); review the draft pleading
seeking interim relief in an involuntary case
filed against Investors VI and interlineate
comments thereto (.30); telephone
conversation with J. Hermann and C.
Harvick re the draft email and the draft
pleading (.10); revise and finalize the email
memorandum to S. Strong after reviewing
C. Harvick's and J. Hermann's comments
and discussing the same with J. Hermann
(.20); revise the draft pleading (.50);
follow-up conversation with C. Harvick
and J. Hermann (.10); review the final
version of the draft pleading seeking
interim relief, as sent by J. Hermann to S.
Strong (.20); exchange follow-up email
memoranda with S. Strong re a call on the
foregoing tomorrow morning (.10); portion
of long telephone conversation with M.
Tucker devoted to discussing next steps
with respect to Investors VI (.40); review
C. Harvick follow-up email memoranda

(.10).
Case 06-10725-gwz_ Doc 3603-3 Entered 04/26/07 16:56:53 Page 68 of 74

O

ORRICK

Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 66

11/16/06 J. Hermann Telephone conference with A. Loraditch 11.90 6,783.00

and M. Levinson regarding local practice
issues relating to potential involuntary
bankruptcy of Investors VI (.20); portion
of lengthy conference call with T. Allison,
S. Strong, A. Loraditch, C. Harvick, M.
Tucker and M. Levinson (portion)
regarding dangers in not being able to
prevent Hotel Zoso sale from closing
without any assurances from J. Milanowski
that sales proceeds with be paid to debtor
estates and litigation and bankruptcy
alternatives available (1.50); telephone
conference with M. Tucker, C. Harvick, A.
Loraditch and M. Levinson regarding

- issues in connection with possible
involuntary bankruptcy of Investors VI and
related matters (.40); preparation of
extensive email analysis of involuntary
bankruptcy filing of Investors VI directed
to debtors professionals (.40); telephone
conference with M. Levinson regarding
further issues in connection with the same
(.10); telephone conference with R. Ragni
regarding research needed to prepare brief
seeking order withdrawing operating
authority from alleged debtor during gap
period and background facts regarding the
same (.30); preparation of legal brief
seeking order withdrawing operating:
authority from alleged debtor during gap
period, including review and analysis of
transaction documents and prior pleadings
in connection with preparation of the same
(5.60); review and analysis of legal
authorities provided by R. Ragni (.20);
further conference call with debtor
professionals and C. Harvick regarding
involuntary bankruptcy issues and their
objections to undertaking the same (.80);
telephone conference with C. Harvick and
M. Levinson regarding the same (.20);
review and revision of email to debtor
representatives expressing Diversified
Committee strong feelings that Hotel Zoso
closing without payment to debtors must be
avoided (.30); review and revision of brief
seeking to withdraw operating authority
Case 06-10725-gwz__ Doc 3603-3 Entered 04/26/07 16:56:53 Page 69 of 74

O

ORRICK

Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 67

during gap period and adding request for
appointment of interim trustee (1.80);
preparation of email to debtor
representatives transmitting such brief (.10)

11/17/06 M. Levinson Exchange a series of email memoranda 2.30 1,288.00
with S. Strong, A. Loraditch, C. Harvick
and others re scheduling a call to discuss
next steps with respect to Investors VI and
related matters (.20); attend most but not all
of a long conference call with S. Strong, T.
Allison, S. Smith, B. Atkinson, A.
Loraditch, C. Harvick (1.10); follow-up
conversation with C. Harvick and J.
Hermann (.40); portion of long telephone
conversation with J. Hermann devoted to
this morning's all-hands call and to his
conversation with L. Dean of the SEC re
Investment Partners-related matters (.30);
follow-up telephone conversation with S.
Strong re next steps with respect to
Investors VI (.10); another follow-up
telephone conversation with S. Strong
(.20).

11/17/06 J. Hermann Participation in conference call with Ray, 4.50 2,565.00
Quinney representatives, Mesirow
representatives, C. Harvick, A. Loraditch
and M. Levinson regarding issues in
connection with involuntary bankruptcy of
Investors VI and related matters (1.20);
follow-up telephone conference with C.
Harvick and M. Levinson regarding the
same and related matters.(.40); further
review and revision of motion for order
seeking withdrawal of operating authority
and seeking interim trustee (.50);
telephone conference with counsel for SEC
regarding issues of interest to possible SEC
investigation (.20); review and analysis of
file materials in connection with the same
and information of interest to the SEC
(1.90); telephone conference with M.
Levinson regarding contact with SEC and
related matters (.30).

11/21/06 M. Levinson Voicemail message from R. Walker re 0,10 56.00
status and next steps and voicemail
message and email memorandum to J.
Hermann re the same.
Case 06-10725-gwz_. Doc 3603-3 Entered 04/26/07 16:86:53 Page 70 of 74

O

ORRICK

Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 68

11/21/06 J. Hermann Review and gathering of file materials in 3.60 2,052.00

preparation for meeting with SEC today
(.60); meet with counsel for the SEC
regarding facts relating to probable
violations of securities laws and numerous
related matters including travel to SEC
offices (2.80); portion of telephone
conference with C. Harvick regarding
results of meeting with SEC counsel and
further information requested by such
counsel (.20).

11/22/06 J. Hermann Follow-up with meeting with SEC 2.20 1,254.00
yesterday by obtaining facts and documents
requested (1.90); participation in exchange
of email correspondence with L. Dean of
the SEC regarding the same and regarding
issues discussed (.30).

11/22/06 M. Levinson Telephone conversation with M. Tucker re 0.20 112.00
the Royal Hotel.
11/26/06 M. Levinson Portion of long telephone conversation with 0.20 112.00
J. Hermann devoted to Investment Partners
issues.
11/28/06 M. Levinson Portion of long telephone conversation with 0.20 112.00

J. Hermann devoted to Investment Partners

issues, including a discussion of his

meeting earlier today with T. Allison and S.

Strong . ‘
11/28/06 J. Hermann Meeting with T. Allison, S. Strong and S. 140 | 798.00

Smith regarding continuing concerns that

Hotel Zoso sale could close without debtors

receiving monies, regarding discussions

with SEC, and regarding involuntary

bankruptcy of Investors VI (.50);

participation in exchange of email

correspondence regarding the same with

Diversified Committee professionals (.20);

further discussions with S. Strong regarding

legal issues involved in such filing and

related matters (.30); further review and

analysis of transaction documents bearing

upon issues of less than 12 creditors,

withdrawal of operating authority and other

issues (.40).
Case 06-10725-gwz_ Doc 3603-3 Entered 04/26/07 16:56:53 Page 71 of 74

O

ORRICK
Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 69
11/29/06 M. Levinson Portion of long telephone conversation with 0.60 336.00

M. Tucker devoted to Investment Partners,
Tree Moss and related issues (.20); portion
of a telephone conversation with J.
Hermann and A. Loraditch devoted to
Investment Partners issues (.10); telephone
conversation with S. Strong and J.
Hermann re next steps with respect to a
number of Investment Partners issues (.20);
exchange follow-up email memoranda with
S. Strong (.10).

11/30/06 J. Hermann Participation in exchange of email 2.70 1,539.00
regarding follow-up call to discuss
involuntary bankruptcy of Investors VI and
related matters (.20); participation in
lengthy conference call with A. Jarvis, E.
Monson, S. Strong, M. Tucker and M.
Levinson and others regarding numerous
aspects of filing of involuntary for
Investors VJ and Tree Moss (1.80); review
and analysis of transaction documents in
connection with the same with respect to
further concerns expressed by debtors to
commencing such an action (.70).

11/30/06 M. Levinson Exchange a series of email memoranda 1.50 840.00
with S. Strong and J. Hermann re the call
scheduled for later today (.10); portion of
very long conference call re next steps with
S. Strong, A. Jarvis, E. Monson, M. Tucker
and J. Hermann devoted to next steps with
respect to Investment Partners and its
affiliates (1.30); portion of follow-up
conversation with J. Hermann and M.
Tucker (.10).

11/30/06 J. Hermann Participation in exchange of email 1.30 741.00
correspondence with Diversified
Committee professionals regarding debtor's
assertion that compounding of interest on
10-90 loan is not allowable (.20); review
and analysis of transaction documents in
connection with the same (.40); preparation
of advice memo/email regarding the same
(.70).

B505— 10-90 Loan Total ~ 46.80 26,530.00
Case 06-10725-gwz_. Doc 3603-3 Entered 04/26/07 16:56:53 Page 72 of 74

O

ORRICK
Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 70
Timekeeper Summary Hours Rate Amount
Jeffery D. Hermann 32.20 570.00 18,354.00
Marc A. Levinson 14.60 560.00 8,176.00

Total All Timekeepers 46.80 $566.88 $26,530.00
Case 06-10725-gwz_ Doc 3603-3 Entered 04/26/07 16:56:53 . Page 73 of 74

O

ORRICK
Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 71
Billed
Task Code Description Hours Amount
B110 Case Administration 11.00 5,646.50
B120 Asset Analysis and Recovery 39.90 22,150.00
B130 Asset Disposition & Sales . 1.20 672.00
B152 Meetings & Communications with other Committees 10.60 5,936.00
B153 Meetings & Communications with the Committee or 44.80 23,389.00
members of the Committee
B154 Meetings & Communications with the Creditors or 8.00 3,770.00
Equity holders
B160 Fee/Employment Applications 740 3,650.00
B170 Fee/Employment Objections 2.20 1,023.00
B210 Business Operations 0.60: 279.00
B310 Claims Administration and Objections , 2.70 1,398.00
B320 Plan and Disclosure Statement (including Business 196.20 106,371.00
Plan)
B503 Litigation 6.30 3,509.50
B504 EPIC Loan . 3.60 2,046.00
B505 10-90 Loan 46.80 26,530.00
Totals 381.30 $206,370.00
Timekeeper Summary Hours Rate Amount
Grady M. Bolding 8.40 665.00 5,586.00
Lynn T. Ernce 53.80 465.00 25,017.00
Jeffery D. Hermann - 142.30 570.00 81,111.00
Elizabeth Harris Lefever 29.50 485.00 14,307.50
Marc A. Levinson 135.20 560.00 75,712.00
Rachel P. Ragni 6.60 390.00 2,574.00
Katherine S. Thomas 5.50 375.00 2,062.50

Total All Timekeepers 381.30 $541.23 $206,370.00
Case 06-10725-gwz__Doc 3603-3 Entered 04/26/07 16:56:53 Page 74 of 74

O

ORRICK
Official Committee of Equity Security Holders of USA Capital Diversified December 29, 2006
Trust Deed Fund, LLC - 17908 Invoice No. 1047512
page 72
Disbur sements

Duplicating Expense 45.20

Express Delivery 17.02

Other Business Meals 40.00

Parking Expense 12.00

Postage 18.80

Telephone 713.58

Travel Expense, Air Fare 305.10

Travel Expense, Local 13.35

Westlaw Research 343.14

Word Processing -1,155.32

Total Disbursements $352.87

Total For This Matter $206,955.37
